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15

16                              UNITED STATES DISTRICT COURT
17                        FOR THE NORTHERN DISTRICT OF ILLINOIS
18                                      EASTERN DIVISION
19

20
                                                  Case Number:
     ATEF A. ELZEFTAWY, an individual,
21
                                                  Judge:
           Plaintiff,
22
                                                  Magistrate:
           vs.
23
                                                  Jury Trial Demanded

24
     PERNIX GROUP INC., a Delaware Corporation; COMPLAINT FOR DAMAGES AND
     and DOES 1-100, inclusive,                 EQUITABLE RELIEF:
25
           Defendants.                               1. VIOLATION OF THE FAMILY
26                                                      MEDICAL LEAVE ACT (FMLA)
                                                        29 USC § 2601 ET SEQ.;
27
                                                     2. VIOLATION OF TITLE I OF THE
28                                                      AMERICANS WITH
                                                        DISABILITIES ACT (“ADA”)


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                                                  42 U.S.C. 12101 ET SEQ.;
1
                                              3. VIOLATION OF TITLE VII OF
2                                                THE CIVIL RIGHTS ACT OF 1964
                                                 (“TITLE VII”) 42 U.S.C. § 2000e ET
3                                                SEQ.);
4                                             4. VIOLATION OF 42 U.S.C. § 1981
                                                 (“1981 CLAIM”);
5
                                              5. WHISTLEBLOWER PROTECTION
6                                                UNDER THE FALSE CLAIMS ACT
                                                 (31 U.S.C. § 3730(h));
7
                                              6. VIOLATION OF THE
8                                                CALIFORNIA FAMILY RIGHTS
                                                 ACT (GOVERNMENT CODE,
9                                                SECTION 12945.1 ET SEQ.);
10
                                              7. ILLEGAL REFUSAL AND
                                                 FAILURE TO PROVIDE A
11
                                                 TIMELY, GOOD FAITH
                                                 INTERACTIVE PROCESS IN
12
                                                 VIOLATION OF THE
                                                 CALIFORNIA FAIR
13
                                                 EMPLOYMENT AND HOUSING
14
                                                 ACT (GOVERNMENT CODE,
                                                 SECTION 12940 ET SEQ.);
15
                                              8. ILLEGAL REFUSAL AND
16
                                                 FAILURE TO PROVIDE A
                                                 REASONABLE
17
                                                 ACCOMMODATION IN
                                                 VIOLATION OF THE
18
                                                 CALIFORNIA FAIR
                                                 EMPLOYMENT AND HOUSING
19
                                                 ACT (GOVERNMENT CODE,
                                                 SECTION 12940 ET SEQ.);
20
                                              9. ILLEGAL
21                                               DISABILITY/PERCEIVED
                                                 DISABILITY HARASSMENT,
22                                               AND FAILING TO PROTECT
                                                 FROM SUCH IN VIOLATION OF
23                                               THE CALIFORNIA FAIR
                                                 EMPLOYMENT AND HOUSING
24                                               ACT (GOVERNMENT CODE,
                                                 SECTION 12940 ET SEQ.);
25
                                              10. ILLEGAL
26                                                DISABILITY/PERCEIVED
                                                  DISABILITY/NATIONAL
27                                                ORIGIN/ANCESTRY/COLOR/
                                                  ERACE/RELIGION
28                                                DISCRIMINATION AND FAILING
                                                  TO PROTECT FROM SUCH IN


                                  COMPLAINT - 2
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                                                  VIOLATION OF THE
1                                                 CALIFORNIA FAIR
                                                  EMPLOYMENT AND HOUSING
2                                                 ACT (GOVERNMENT CODE,
                                                  SECTION 12940 ET SEQ.);
3
                                              11. ILLEGAL
4                                                 DISABILITY/PERCEIVED
                                                  DISABILITY/NATIONAL
5                                                 ORIGIN/ANCESTRY/COLOR/
                                                  RACE/RELIGION RETALIATION
6                                                 AND FAILING TO PROTECT
                                                  FROM SUCH IN VIOLATION OF
7                                                 THE CALIFORNIA FAIR
                                                  EMPLOYMENT AND HOUSING
8                                                 ACT (GOVERNMENT CODE,
                                                  SECTION 12940 ET SEQ.);
9
                                              12. WHISTLEBLOWER PROTECTION
10
                                                  UNDER LABOR CODE,
                                                  SECTIONS 6310 AND 6400;
11
                                              13. WHISTLEBLOWER PROTECTION
12
                                                  UNDER THE CALIFORNIA
                                                  FALSE CLAIMS ACT
13
                                                  (GOVERNMENT CODE, SECTION
14
                                                  12653(a));

15
                                              14. WHISTLEBLOWER PROTECTION
                                                  UNDER LABOR CODE, SECTION
16
                                                  1102.5;

17
                                              15. WRONGFUL ADVERSE
                                                  EMPLOYMENT ACTION IN
18
                                                  VIOLATION OF PUBLIC POLICY;

19
                                              16. FRAUD (FALSE PROMISE);

20                                            17. FRAUD (INTENTIONAL
                                                  MISREPRESENTATION);
21
                                              18. FRAUD (CONCEALMENT); AND
22
                                              19. VIOLATION OF THE UNFAIR
23                                                BUSINESS PRACTICES ACT
                                                  (BUSINESS AND PROFESSIONS
24                                                CODE, SECTION 17200 ET SEQ.).

25

26
                                           DEMAND FOR JURY TRIAL
27

28




                                  COMPLAINT - 3
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1           Plaintiff ATEF A. ELZEFTAWY hereby alleges as follows:
2                                            INTRODUCTION
3           1.      Plaintiff ATEF A. ELZEFTAWY (sometimes “ATEF” and/or “Plaintiff”) is a
4    California resident and citizen who lives, and has lived, in California since approximately July
5    2015 and for years before his de facto wrongful discharge and refusal to hire/rehire by
6    Defendants. California is where the vast majority of the illegal acts and omissions occurred
7    against ATEF. California is where ATEF – along with his family - suffered the adverse effects
8    of the illegal misconduct by Defendants. Although California courts have minimum contacts
9    with California upon which the claims are based (specific personal jurisdiction) against
10   Defendant PERNIX GROUP, INC. (sometimes “PERNIX GROUP” and/or “Defendant” and/or
11   as one of the “Defendants”), a favorable ruling concerning personal jurisdiction (or ruling
12   concerning transfer instead of dismissal) was not guaranteed in California. As such, Plaintiff
13   ATEF brings this action in the Northern District of Illinois, Eastern District where personal
14   general jurisdiction against Defendants exists without question. Defendant PERNIX GROUP’S
15   principal place of business is in Lombard, Illinois.
16          2.      Plaintiff ATEF brings this action for damages and equitable relief against his
17   employer/former employer for violation of various federal and state laws designed to protect
18   Plaintiff and other employees and applicants for employment from failure to provide a timely,
19   good faith, interactive process, failure to provide a reasonable accommodation, harassment,
20   discrimination, retaliation, wrongful discharge, failure to hire/rehire, and other illegal misconduct
21   based upon disability, perceived disability, race, color, national origin, ancestry, religion,
22   opposing and/or complaining about the foregoing and standing up for his rights and the rights of
23   others, opposing and/or complaining about unsafe working conditions, opposing, investigating,
24   and trying to stop false governmental claims, for fraud, unfair, illegal, and fraudulent business
25   practices, and for the other illegal actions and/or omissions set forth herein.
26                               SUBJECT MATTER JURISDICTION
27          3.      This court has subject matter jurisdiction, specifically diversity jurisdiction,
28   over this matter pursuant 28 U.S.C. § 1332. Complete diversity exists as Plaintiff is a resident


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1    and citizen of California for years and Plaintiff is informed and believes, and thereon alleges,
2    that each of the Defendants are citizens of states other than California. Defendant PERNIX
3    GROUP represents itself to be a Delaware Corporation with its’ principal place of business in
4    Lombard, Illinois. The amount in controversy, without interest and costs, exceeds the sum or
5    value specified by 28 U.S.C. § 1332.
6           4.      This court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 in
7    light of federal questions arising under the following federal statutes sued upon:
8                   a. Family Medical Leave Act (sometimes “FMLA”), 29 USC § 2601 et seq.;
9                   b. Title I of the Americans with Disabilities Act (sometimes "ADA"), 42
10                      U.S.C. §§ 12101 et seq.;
11                  c. Title VII of the Civil Rights Act of 1964 (sometimes " Title VII"), 42 U.S.C.
12                      § 2000e et seq.;
13                  d. 42 U.S.C. § 1981 (sometimes “1981 action"); and
14                  e. The False Claims Act (sometimes " FCA"), 31 U.S.C. § 3729 et seq.,
15                      specifically the anti-retaliation provision found at Section 3730.
16                                  PERSONAL JURISDICTION
17          5.      This court has general personal jurisdiction over Defendant PERNIX GROUP
18   whose principal place of business is 151 East 22nd Street in the City of Lombard, County of
19   DuPage, State of Illinois and from which most of the communications were sent to ATEF in
20
     California.   This court and the California courts would have personal jurisdiction over
21
     Defendant PERNIX GROUP because it is an entity that has sufficient minimum contacts in
22
     Illinois and California, and purposely availed itself of the benefits and protections of California
23
     and Illinois so as to render the exercise of jurisdiction over Defendant PERNIX GROUP, INC.
24
     by the California and Illinois courts consistent with traditional notions of fair play and
25
     substantial justice.
26
                                           PARTIES AND VENUE
27
            6.      Plaintiff ATEF is and, at all relevant times was, a citizen and resident of the
28
     State of California, County of Orange.


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1           7.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
2    GROUP is a Delaware Corporation with its company headquarters located at 151 E. 22nd
3    Street Lombard, IL 6014.
4           8.     Plaintiff is informed and believes, and thereon alleges, that at the time of the
5    wrongful conduct alleged herein, and continuing, that Defendant PERNIX GROUP employed
6    approximately four hundred (400) employees (mostly in the United States) and around the
7    world and continues to employ this approximate number of people when considering its’
8    employees, its’ subsidiaries’ employees, and its’ joint venture employees. As such, Defendant
9    PERNIX GROUP maintains enough employees to constitute an “employer” as set forth in the
10   federal laws sued under, including, but not limited to, the ADA (42 USC Section 12111(5) and
11   29 CFR Section 1630.2 requiring 15 employees); the FMLA (29 USC § 2611(4)(A)(i)
12   requiring 50 or more employees); TITLE VII (Title VII of the Civil Rights Act of 1964 as
13   amended, 42 USC 2000-e requiring 15 or more employees) and other federal laws. In addition,
14   Defendant PERNIX GROUP maintains enough employees to constitute an “employer” as set
15   forth in state law sued under, including, but not limited to, California Government Code,
16   Section 12926(d) (requiring five or more employees) for liability under the California Fair
17   Employment and Housing Act (“FEHA”), California Government Code, Section 12940 et seq.,
18   the special definition of “employer” found at California Government Code, Section
19
     12940(j)(4)(A) for purposes of liability for harassment pursuant to California Government
20
     Code, Section 12940(j) (requiring one or more employees), the definition of “employer” for
21
     purposes of other liability under the FEHA and the CFRA/FMLA (requiring fifty or more
22
     employees).
23
            9.     The true names and capacities, whether corporate, associate, individual, or
24
     otherwise of Defendants DOES 1 through 100, inclusive, are unknown to Plaintiff, who
25
     therefore sues said Defendants by such fictitious names pursuant to California Code of Civil
26
     Procedure § 474. Each of Defendants designated herein as a DOE is negligently or otherwise
27
     legally responsible in some manner for the events and happenings herein referred, and caused
28
     injuries and damages proximately thereby to Plaintiff as herein alleged. Plaintiff will ask leave


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1    of Court to amend this Complaint to show their true names and capacities when the same have
2    been ascertained.
3           10.     The wrongful conduct of Defendants occurred and the causes of action arose, at
4    least in part, in the County of Orange, State of California (where most of the illegal acts and
5    omissions occurred, were directed to - through mail, email, and conversations with ATEF -
6    and/or the adverse effects were suffered by ATEF) and in Lombard, Illinois (where some of the
7    communications were sent from in the Northern District-Eastern Division). Venue is proper in
8    California in the Central District pursuant to 28 U.S.C. § 1391(b)(2) because it is “(2) a judicial
9    district in which a substantial part of the events or omissions giving rise to the claim occurred
10   ....” Venue is proper in the Northern District of Illinois, Eastern Division pursuant to 28 U.S.C. §
11   1391(b)(1) and (3) because it is “a judicial district in which any defendant resides, if all
12   defendants are residents of the State in which the district is located” and because “if there is no
13   district in which an action may otherwise be brought as provided in this section, any judicial
14   district in which any defendant is subject to the court’s personal jurisdiction with respect to such
15   action.” In spite of other jurisdictions also being the appropriate venue (such as California), the
16   courts with the Seventh Circuit (including those within the Northern District of Illinois, Eastern
17   Division) are an appropriate venue. Under 28 U.S. Code § 1404, this court “for the convenience
18   of parties and witnesses,” and “in the interest of justice,” “may transfer” this “civil action to any
19
     other district or division where it might have been brought [including the Central District of
20
     California] or to any district or division to which all parties have consented.”
21
                                            JOINT LIABILITY
22
            11.     Unless otherwise indicated herein, each Defendant herein sued is the agent, co-
23
     conspirator, joint venturer, general employer, special employer, dual employer, partner, aider,
24
     abettor, inciter, compeller, coercer, and/or employee of every other Defendant and, as alleged,
25
     has been acting within the course and scope of said agency, conspiracy, joint venture, dual
26
     employment, joint employment, partnership, employment, and/or other role described with the
27
     knowledge and/or consent of co-Defendants, and each of them.                Moreover, Plaintiff is
28
     informed and believes and thereon alleges that each Defendant has authorized and/or ratified


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1    the wrongful activities of each of the remaining Defendants. As such, Defendants are jointly
2    liable based on Delos v. Farmers Insurance Group (1979) 93 Cal.App.3d 642, and/or any
3    similar joint liability theories and/or case decisions.
4                        CORPORATE LIABILITY FOR PUNITIVE DAMAGES
5              12.     Defendants’ conduct, as described herein, was malicious, fraudulent, oppressive,
6    mean, vile, despicable, and in conscious disregard of Plaintiff’s rights and was undertaken,
7    aided, abetted, incited, coerced, compelled, ratified, and/or otherwise participated in and/or
8    pursuant to policies and procedures adopted, approved and/or allowed by their officers,
9    directors, and/or managing agents (as those terms are used in California Civil Code Sections
10   3294 and 3295) for purposes of establishing corporate liability for punitive damages of each of
11   the Defendants, including, but not limited to, NIDAL ZAYED (CEO/President of PERNIX
12   GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of PERNIX
13   GROUP), CANDACE WATSON (Director of Human Resources of PERNIX GROUP) and
14   others.    Further, Defendants had advance knowledge of the malicious, fraudulent, and/or
15   oppressive activities of the individual perpetrators whose actions and conduct were authorized,
16   approved, and/or ratified (by continued retention and refusal to discipline and/or discharge
17   long after the illegal misconduct was known) by Defendant PERNIX GROUP’s directors,
18   officers, and/or managing agents.
19
                     DEFENDANTS’ LIABILITY FOR TREBLE PUNITIVE DAMAGES
20
               13.     Plaintiff is informed and believes, and thereon alleges, that one or more of the
21
     following factors have been met thereby establishing the liability of Defendant PERNIX
22
     GROUP, and DOES 1-100, and each of them, for treble punitive damages pursuant to
23
     California Civil Code Section 3345:
24
                       a. Defendants, and each of them, “knew or should have known that his or her
25
                          conduct was directed to one or more senior citizens or disabled persons
26
                          [including ATEF];”
27
                       b. Defendants, and each of them, “caused one or more senior citizens or
28
                          disabled persons to suffer: loss or encumbrance of a primary residence,


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1                     principal employment, or source of income; substantial loss of property set
2                     aside for retirement, or for personal or family care and maintenance; or
3                     substantial loss of payments received under a pension or retirement plan or a
4                     government benefits program, or assets essential to the health or welfare of
5                     the senior citizen or disabled person [including ATEF];” and/or
6                 c. Plaintiff ATEF and other victims of the fraudulent conduct were “senior
7                     citizens or disabled persons” who were “substantially more vulnerable than
8                     other members of the public to the defendant's conduct because of age, poor
9                     health or infirmity, impaired understanding, restricted mobility, or disability,
10                    and actually suffered substantial physical, emotional, or economic damage
11                    resulting from the defendant's conduct.”
12
                       FACTS COMMON TO ALL CAUSES OF ACTION
13

14               A. Case Summary

15         14.    Plaintiff ATEF is a “disabled” (or at least “perceived” or “regarded” to be

16   “disabled”), Egyptian-American, Muslim. As set forth below, ATEF worked for Defendant

17   PERNIX GROUP since 2012. On June 10, 2016, Defendant PERNIX GROUP announced that

18   CANDACE WATSON (Human Resource Director for Defendant PERNIX GROUP’s

19   subsidiary BE&K Building Group) was now also “HR Director for Pernix Group Inc.,

20   reporting to NIDAL ZAYED (President & CEO) with direct responsibility for HR functions
21   company wide.”
22         15.     In a letter dated September 1, 2016, Defendant PERNIX GROUP confirmed
23   that Plaintiff’s employer continued to be Defendant PERNIX GROUP (the parent corporation
24   of various PERNIX entities), that ATEF would continue working with CEO/President
25   ZAYED, and that he would be directly reporting to ED McSWEENEY (President of PERNIX
26   FEDERAL, a division of Defendant PERNIX GROUP).               After years of ATEF’s “award
27   winning” service (including an award from the U.S. Government to ATEF regarding best
28   Design and Efficiency) and ATEF bringing in over a hundred million dollars in business to


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1    PERNIX GROUP from federal government contracts, Plaintiff ATEF had recently been
2    promoted by CEO/President ZAYED to Senior Director of Engineering and Special Projects.
3    Unfortunately, while working under President ED McSWEENEY in 2016, Plaintiff ATEF
4    would learn about, complain about, and oppose ED McSWEENEY’s racists comments (calling
5    out Mr. McSWEENEY for his “racist” comments in the summer of 2016) about Muslims and
6    Middle-Easterners (whom he seemingly lumped in with “terrorists”). Plaintiff ATEF also
7    opposed the decision (told to ATEF in the summer 2016) by NIDAL ZAYED (a Middle-
8    Eastern person who held himself out as Christian) and ED McSWEENEY to lower the number
9    of Muslims working for Defendant PERNIX GROUP (by firing and hiring policies) for the
10   stated reason that PERNIX GROUP would be more competitive in bidding for US
11   governmental projects. During the same time period – middle to late 2016 - ATEF complained
12   about safety issues to Defendant PERNIX GROUP, including up to the day of his injury
13   (which was caused by such unsafe work conditions) on November 11, 2016. As a result of his
14   injury, Plaintiff ATEF suffered a disability (a “substantial limitation” on his ability to walk - a
15   “major life activity” under the ADA and also qualifying as a disability under FEHA which
16   includes “any limitations” on a “major life activity”) and a “serious health condition”
17   (qualifying ATEF under the FMLA/CFRA).               In December 2016, Defendant PERNIX
18   GROUP’s top HR person, CANDACE WATSON (along with other PERNIX GROUP agents),
19
     admitted that Plaintiff ATEF was entitled to an FMLA leave (up to 12 weeks a year), which in
20
     turn required no interference with such a leave, a return to his same or a similar position after
21
     the leave was done, and no harassment, discrimination, and/or retaliation for requesting and/or
22
     taking the leave. In addition, under the ADA and FEHA, Plaintiff ATEF would be entitled to a
23
     much longer leave than 12 weeks, if needed. Furthermore, under these and other laws, ATEF
24
     would be entitled to a timely, good faith, interactive process, a continuing and reasonable
25
     accommodation, and protection from harassment, discrimination, and retaliation based upon
26
     his disability, religion, national origin, ancestry, race, color and/or standing up for his rights
27
     under the law. Plaintiff ATEF had personally been involved in negotiations with the federal
28
     government on numerous occasions. He had brought in over 200 million dollars of projects,


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1    and knew that Defendant PERNIX GROUP, by the illegal acts and omissions set forth herein,
2    were falsely certifying – over and over again as set forth below – that it had followed, was
3    following, and would continue to follow anti-discrimination laws (protecting Middle-
4    Easterners, Muslims, and disabled people from discrimination), falsely certifying that it would
5    periodically assess such to insure compliance with such laws, and falsely certifying compliance
6    with other laws that they were breaking from the very top of Defendant PERNIX GROUP –
7    the same people who were falsely certifying compliance.
8                 B. Defendant PERNIX GROUP’S False Certifications, False
9           Representations and False Claims to the U.S. Federal Government to Gain
10          Hundreds of Millions of Dollars in Federal Contracts Provides the Context
11          16.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
12   GROUP (and its various subsidiaries and joint ventures) were awarded approximately 190
13   prime federal contracts (and many other sub-contracts) for a total of over 700 Million Dollars
14   in the last eight years or so, based on falsely certified past, then-present, and future compliance
15   with safety laws, anti-discrimination laws, and promises of periodic investigations and
16   assessments to insure compliance with such laws. Plaintiff is informed and believes, and
17   thereon alleges, that these false certifications were agreed to and falsely made to the federal
18   government (predominantly the Department of Defense and the Department of State) by
19   CEO/President ZAYED and the President McSWEENEY and others before, during, and after
20   their illegal mistreatment of ATEF and others similarly situated, including, but not limited to,
21   tens of times for each year from 2012 through the present and approximately 190 times.
22   Plaintiff ATEF knew about these false certifications, false representations, and false promises
23   from his vantage point as part of the top management team who directly reported to ED
24   McSWEENEY and NIDAL ZAYED and his personal participation in the negotiations of such
25   contracts, especially those he helped Defendant PERNIX GROUP win as described below.
26   This is not a case where a rogue lower-level employee harasses, discriminates against, and
27   retaliates against another employee, but rather is a case where the same people at the top of
28   Defendant PERNIX GROUP who are making the false certifications, false representations, and


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1    false promises, are knowingly lying and then personally carrying out the illegal misconduct
2    they certified that PERNIX GROUP did not do. Plaintiff ATEF does not sue in this case for
3    the hundreds of millions of dollars obtained by Defendants based upon false certifications,
4    false representations, false promises, and fraudulent concealment as such case would be filed
5    separately under seal under the procedural requirements set forth in the United States False
6    Claims Act and, where appropriate, under state False Claims Acts. Plaintiff ATEF sues – in
7    part – based upon Defendants PERNIX GROUP’s retaliation against him when he opposed,
8    investigated, and tried to stop the illegal conduct, practices and policies and false claims.
9    Plaintiff is not required to say whether or not he has actually filed a government recoupment
10   qui tam action as such would be required to be under seal with the government given a chance
11   to investigate and/or intervene. For purposes of the retaliation claim under the False Claims
12   Act, it is enough that Plaintiff was trying to investigate such and/or oppose such and/or stop
13   such and was retaliated against because of such. This is true whether he brings an actual
14   governmental recoupment qui tam case or not.
15                C. ATEF’S Complaints about Safety Issues and His Disabling Injury
16          17.     In the summer and fall of 2016, Plaintiff, Gary O’Neal (Site Safety & Health
17   Officer), and others complained about safety issues to CEO/President ZAYED, President
18   McSWEENEY, and others, including by relevant example, the leaving of parts of the
19   construction flooring off without adequate (or in some cases any) warning of danger. Site
20   Safety & Health Officer O’Neal, within weeks of ATEF getting hurt, threatened to quit his job
21   if the safety issues were not fixed indicating in pertinent part: “The guys are shaken by this and
22   have voiced they're [sic] concerns about the path forward! I will not be a part of just forgetting
23   that no one was injured majorly! If anyone has a problem with this, Then I am willing to step
24   down as the SSHO? I will not stand by and watch this behavior happen! If PERNIX or
25   KASEMAN wants me replaced I do not have a problem with that! I will not stand ideally by
26   and watch or let unsafe behavior happen on this project!” The injured employee went to the
27   hospital, had a few sutures placed and – under pressure from Defendant PERNIX GROUP -
28   went back to work right away so as to not have a “reportable” incident and not raise the specter


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1    of Defendant PERNIX GROUP having to provide a timely, good faith, interactive process and
2    reasonable accommodation (including an FMLA leave and longer leave, if necessary, under the
3    ADA, FEHA, and other laws) and PERNIX GROUP having to refrain from harassing,
4    discriminating against, and/or retaliating against a disabled employee.
5           18.     Unfortunately, on November 11, 2016, Plaintiff ATEF was hurt “majorly” (to
6    quote Mr. O’Neal’s prophetic email) by the same safety issues ATEF, Mr. O’Neal and others
7    had complained about. While making his morning rounds after a Safety Meeting, Plaintiff
8    stepped his left foot into an unprotected and open raised steel floor tiles (depth of 24 inches)
9    full of electrical conduits. Unfortunately, ATEF’s injury was far worse than the last person to
10   get hurt because of the safety issues raised by ATEF. ATEF sustained a broken fibula, chipped
11   ankle joint and shattered heel bone requiring multiple surgeries. In addition, ATEF suffered a
12   more minor right-hand injury. Moreover, ATEF suffered back pain after the fall.
13          19.     Plaintiff ATEF filed an Employer’s First Report of Occupation Injury from
14   California. Plaintiff proceeded with medical care (again, including multiple surgeries) at
15   various health care providers in California. ATEF was totally disabled from November 11,
16   2016 to January 2017 when his California health care providers released ATEF. ATEF was
17   entitled to leave under the CFRA and FMLA, as his leave was less than 12 weeks and the
18   result of a “serious health condition.”
19
                  D. Defendant PERNIX GROUP’S Promise to Return ATEF to the Same or
20
            Similar Job
21
            20.     In December 2016, HR Director WATSON and TANDEM HR (a “Professional
22
     Employer Group” also representing Defendant PERNIX GROUP) correctly informed ATEF
23
     that his “serious health condition” entitled him to FMLA leave of up to 12 weeks, and that he
24
     was guaranteed return to his job or a similar one. HR Director WATSON’s admission and
25
     TANDEM HR’s admission in December 2016 of at least some of ATEF’s legal rights were
26
     contrary to PERNIX GROUP’s written policies (that has continuously existed since 2008),
27
     which indicated that FMLA was “inapplicable” to PERNIX GROUP and its employees, that
28
     the longest leave allowed was 8 weeks, and otherwise misstated the contours of the FMLA (see


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1    below). In addition, though he was not told of this right, ATEF was also entitled to a timely,
2    good faith, interactive process and reasonable accommodation, including, if necessary, a leave
3    of up to one year or more, and also to a position which accommodated ATEF’s new found
4    disability caused by Defendant’s unsafe practices that ATEF had complained about.
5           21.     Defendant PERNIX GROUP, by the FMLA forms provided to ATEF and filled
6    out by ATEF and TANDEM HR in December 2016, learned about the nature and extent of
7    ATEF’s job duties (at least as to his job duties at the time of the injury) and knew that ATEF
8    had a “desk” job in various types of engineering for decades, including Design Engineering,
9    Project Control, Logistics, Purchasing, and many other “desk jobs.” ATEF used sick days and
10   vacation days to continue getting paid through December 2016.
11                E. When ATEF sought to “Return to Work,” Defendant PERNIX GROUP,
12   CEO/President ZAYED, President McSWEENEY, HR Director WATSON, and Others
13   Knew ATEF’s Rights Under Federal and State Law
14          22.     In January 2017, ATEF was cleared to return to office duty by his doctor and he
15   provided his employer with a doctor’s note indicating such. Plaintiff ATEF’s work restrictions
16   initially included an indication that he needed a “desk job” and restrictions on “travel.” Soon,
17   however, ATEF was given clearance to “travel” as part of his job. ATEF had worked many
18   such positions over his decades of experience and Defendant PERNIX GROUP could
19
     accommodate such in one of their many offices around the United States and/or projects
20
     around the world, including tens of millions of dollars of projects won by ATEF for Defendant
21
     PERNIX GROUP in the past.
22
            20.     On or about January 5, 2017, ATEF emailed his director supervisors
23
     CEO/President ZAYED and President McSWEENEY regarding his desired “return to work.”
24
     Plaintiff is informed and believes, and thereon alleges, that as of January 5, 2017, and
25
     thereafter, when Plaintiff ATEF informed them of his ability to go back to work with
26
     restrictions and continued to seek return to work, Defendant PERNIX GROUP (including
27
     CEO/President ZAYED, President McSWEENEY, HR Director WATSON, other HR
28




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1    employees and/or HR TANDEM) knew that ATEF – as a disabled employee who was
2    returning from FMLA/CFRA leave - was entitled the following:
3              a. ATEF had a right (and had been previously entitled) to proper postings and
4                   notification   regarding    his   rights   under   the   FMLA/CFRA,     including
5                   postings/notifications regarding his rights under such a leave (see below), the
6                   status of his leave, whether the company deemed him a “key” person, and his
7                   job or another similar position after his leave ended;
8              b. ATEF had a right to a 12-week leave under the FMLA/CFRA without any
9                   interference with such leave;
10             c.   ATEF had a right to be returned to his same or similar position after returning
11                  from such FMLA/CFRA leave;
12             d. ATEF had a right to be free from harassment, discrimination, and/or retaliation
13                  due to his requesting and/or taking FMLA/CFRA leave;
14             e. ATEF had a right to a timely, good faith, interactive process from Defendants to
15                  find a reasonable accommodation for his disability;
16             f. ATEF had a right to a reasonable accommodation (and continuing) of his
17                  disability, which included not only a medical leave under CFRA/FMLA (limited
18                  in time to 12 weeks per year), but also a much longer medical leave under
19
                    FEHA and the ADA – even exceeding a year, if necessary;
20
               g. ATEF had a right to be free from harassment, discrimination, and/or retaliation
21
                    by Defendants due to his seeking a timely, good faith, interactive process,
22
                    seeking a reasonable accommodation (continuing), and due to his standing up
23
                    for his right not to be harassed, discriminated against, and/or retaliated against
24
                    due to his disability;
25
               h.   ATEF had a right under state law to be free from harassment, discrimination,
26
                    and/or retaliation by Defendants because of his complaints regarding safety
27
                    issues;
28




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1                 i. ATEF had a right under federal and state law to be free from harassment,
2                    discrimination, and/or retaliation by Defendants due to his national origin,
3                    ancestry, color, and/or race (ATEF is Egyptian-American), and/or his religion
4                    (ATEF is Muslim); and
5                 j. ATEF had a right under federal and state law to be free from harassment,
6                    discrimination, and/or retaliation by Defendants due to his investigation of his
7                    bosses’ fraud on the government, his efforts to stop what he in good faith
8                    believed to be fraudulent certifications, false representations and false claims by
9                    Defendants to gain hundreds of millions of dollars in federal governmental
10                   contracts.
11                F. Defendant PERNIX GROUP, CEO/President ZAYED, President
12   McSWEENEY, HR Director WATSON, and Others Consciously Disregarded ATEF’s
13   Rights Under Federal and State Law in a Malicious, Fraudulent, and Oppressive Way
14          21.      Defendant PERNIX GROUP, INC. consciously and oppressively disregarded
15   Plaintiff ATEF’s rights under federal and state law and willfully injured ATEF by numerous
16   illegal actions, omissions, and refusals by Defendant PERNIX’s officers, directors, and/or
17   managing agents and/or pursuant to fraudulent, illegal, and unfair policies, procedures and
18   actions authored, implemented, and/or ratified by them including, but not limited to, the
19
     following:
20
                  a. Defendant PERNIX GROUP’s written policies and written representations to
21
                     ATEF, and hundreds of other employees, did not provide proper and adequate
22
                     postings of ATEF’s rights and the rights of other employees to FMLA (or the
23
                     CFRA or any other state or local Family Medical Leave Acts) and instead
24
                     deceived ATEF and others regarding such by stating in its written policies the
25
                     following:
26
                         i. Defendant PERNIX GROUP’s Employee Handbook (dated 2008 and
27
                            which has not been updated or such update has not been provided to
28
                            ATEF) does not address the employees’ rights under the Family Medical


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1                   Leave Act nor any of the state counterparts such as the California Family
2                   Rights Act;
3                ii. Defendant PERNIX GROUP’s Supplemental Employee Handbook dated
4                   April 25, 2008 (at Page 9 and as referenced in the Table of Contents as
5                   “Family Medical Leave”) states:
6                      1. “At this time, the Family Medical Leave Act is not applicable to
7                          Pernix Group, Inc. However, we understand our employees’
8                          needs, so please refer to the Disability Leave Section for
9                          additional information.”
10              iii. After deceiving ATEF and other employees about FMLA not being
11                  applicable to Defendant PERNIX GROUP, Defendant PERNIX
12                  GROUP’s Supplemental Employee Handbook (dated April 25, 2008 and
13                  which has not been updated or such update has not been provided to
14                  ATEF) further deceives ATEF and other employees into believing that a
15                  “Disability Leave” is limited to 8 weeks: “Exempt and non-exempt
16                  employees are eligible for unpaid disability leave after one year of
17                  employment. Disability leave due to non-occupational illness, injury or
18                  pregnancy-related disability is not to exceed eight (8) weeks.”
19
                iv. PERNIX GROUP’s written policy is illegal and fraudulent as FMLA and
20
                    CFRA leaves are allowed for up to twelve (12) weeks under the law and,
21
                    more importantly, leaves under the ADA and FEHA have been allowed
22
                    for up to and over one year.
23
                 v. In addition to indicating the wrong time limit for leaves, Defendant
24
                    PERNIX GROUP’s Supplemental Employee Handbook (dated April 25,
25
                    2008 which has not been updated or such update has not been provided
26
                    to ATEF) indicates the wrong standard for returning the disabled
27
                    employee to work: “We will return you to the same or similar position
28
                    you held prior to your disability leave [the foregoing being somewhat


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1                   similar to the FMLA standard which they say does not apply], subject to
2                   our staffing needs and business requirements [emphasis added on the
3                   portion of the standard which misrepresents the legal standard];
4               vi. PERNIX GROUP’s written policies in this regard are illegal, fraudulent,
5                   and clearly show that its many certifications to the federal government
6                   regarding following anti-discrimination laws are false and its many
7                   certifications of periodic assessments to insure it is following anti-
8                   discrimination laws (and other laws) are also false;
9               vii. Defendant PERNIX GROUP’s Employee Handbook (dated May 28,
10                  2008 which has not been updated or such update has not been provided
11                  to ATEF) is introduced by Mr. NIDAL ZAYED (Chief Executive
12                  Officer and President of Defendant PERNIX GROUP) and makes many
13                  promises about providing a safe work environment and about protecting
14                  employees from harassment, discrimination, and retaliation, but the
15                  statements do not cover the all of the various rights of each employee
16                  leaving them without knowledge of their actual rights and, more
17                  importantly NIDAL ZAYED, and EDWARD McSWEENEY themselves
18                  violate such anti-discrimination laws and author, implement, and/or
19
                    ratify illegal, fraudulent and unfair conduct and policies.
20
               viii. Defendant PERNIX GROUP’S Employee Handbook does have a section
21
                    on “Employees With Disabilities,” but does not state the employees’
22
                    rights to a timely, good faith, interactive process and states the wrong
23
                    standard as to when and under what circumstances a reasonable
24
                    accommodation is legally required for a disabled employee.
25
           b. In spite of Defendant PERNIX GROUP’s stated policy that the FMLA is not
26
              applicable to it, TANDEM HR (with a copy to CANDACE WATSON, the
27
              Director of Human Resources for Defendant PERNIX GROUP and its
28
              subsidiary BE&K) sent ATEF emails and paperwork regarding ATEF’s FMLA


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1             rights. CANDACE WATSON (the top HR person at both Defendant PERNIX
2             GROUP and BE&K – PERNIX-GROUP’S subsidiary with many jobs all around
3             the United States) admitted in an email that ATEF was entitled to FMLA.
4             Unfortunately, Defendant PERNIX GROUP and TANDEM HR did not follow
5             up to provide ATEF with the same or similar position and, in essence, withdrew
6             CANDACE WATSON’S and TANDEM HR’s apparent offer to follow the
7             FMLA. It is unclear who was the one to put a stop to Defendant PERNIX
8             GROUP following the law, but as set forth below, the only people above ATEF
9             on the chain of command (PERNIX FEDERAL President McSWEENEY and
10            PERNIX GROUP President ZAYED) both had illegal motives.                   Defendant
11            PERNIX GROUP interfered with ATEF’s FMLA/CFRA leave and Disability
12            Leave and harassed, discriminated against, retaliated against, and, ultimately,
13            wrongfully discharged (de facto) ATEF and refused to hire/rehire him;
14         c. While ATEF was on FMLA/CFRA leave and on leave under the ADA/FEHA
15            (which would allow for a much longer leave if needed), Defendant PERNIX
16            GROUP sought ATEF’S assistance with work.              Although ATEF initially
17            patiently responded to the interference of his leave with kindness and assistance,
18            Defendant PERNIX GROUP (through HR Director CANDACE WATSON)
19
              added insult to injury by lambasting ATEF as if ATEF was the one doing
20
              something illegal for responding to the needs of the company who wanted his
21
              assistance with a few issues.
22
           d. Although the ADA, FEHA and other laws require Defendants to enter into a
23
              timely, good faith, interactive process, Defendant PERNIX GROUP (through
24
              President McSWEENEY) tried to shut down, from the beginning, ATEF’s right
25
              to a timely, good faith, interactive process, right to a reasonable
26
              accommodation, right to be returned to his same or similar job, and right to be
27
              free   from    harassment,      discrimination,   and/or   retaliation.   President
28
              McSWEENEY, on the same day of ATEF’S email about “Reporting Back to


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1             Work” on January 5, 2017, refused to open an interactive process (and certainly
2             not a “good faith” one) and seemed to want to stop any such process or any
3             reasonable accommodation of ATEF’s disability. President McSWEENEY’s
4             email went to ATEF, Tom Pymill (an officer of the company), and
5             CEO/President ZAYED: “Need to have discussion on a plan of action. Can’t
6             leave him in suspense and need to make a decision either way.” Although ATEF
7             would push for his legal rights over the next year or so, President
8             McSWEENEY’s response the very first day would later show (in retrospect)
9             that Defendant PERNIX GROUP had made up its mind (at least President
10            McSWEENEY did) that ATEF would never be provided with a timely, good
11            faith, interactive process, never be provided with a reasonable accommodation,
12            never be provided with his job or a similar job as required by the FMLA, CFRA,
13            ADA, and FEHA, and instead, would be led on by President ZAYED, HR
14            DIRECTOR CANDACE WATSON, and others who acted like they wanted to
15            follow the law and bring ATEF back. To this day, however, Defendants have
16            not officially indicated that ATEF was ever discharged and has not officially
17            indicated that Defendants have stopped looking for a position for ATEF. In
18            addition, ATEF has not been offered any positions or received any help
19
              regarding finding such. In fact, Defendant PERNIX GROUP (predominantly by
20
              CEO/President ZAYED, President McSWEENEY, and HR Director WATSON)
21
              have, as set forth below, lied over and over again and acted in bad faith.
22
           e. As there were no reasons why Defendants should not have followed the law and
23
              bring him back (except illegal reasons), ATEF additionally believes that it was
24
              related to his race, color, national origin, ancestry, and/or religion. After all,
25
              President McSWEENEY had made obscene and derogatory remarks about
26
              Turkish people, Middle-Easterners, Muslims and others (who he seemed to
27
              lump in with terrorists). ATEF showed his opposition to such racist comments
28
              by the tone of his conversation, his body language, his changing of the subject


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1             and in other ways. In addition, and perhaps more importantly, at some point
2             approximately five to six months (in or about June or July 2016) before the
3             illegal campaign started by President’s January 5, 2017 email, ATEF remembers
4             openly and forcefully chiding President McSWEENEY about his discriminatory
5             comments, saying words to the effect that President McSWEENEY was making
6             offensive and “racist” comments.       When ATEF would conduct his Friday
7             prayers pursuant to his Muslim religion, ATEF felt compelled to leave the office
8             so that no one at PERNIX GROUP would see him. When ATEF spoke in front
9             of groups of many white management and subordinates at Defendant PERNIX
10            GROUP, he would sometimes feel the anger and animus in the room. In front of
11            ATEF, PERNIX FEDERAL President McSWEENEY (believed to be a
12            Christian/Catholic) told ATEF (an Egyptian-American and Muslim) and
13            President ZAYED (who though from the Middle-East openly represented
14            himself to be a Christian, celebrated Christmas, identified himself as Christian
15            in the United Emirates and had a sister in-law who passed and was eulogized in
16            a Christian Church) that they should get rid of Muslim employees and certainly
17            not hire them. President ZAYED had certainly been openly Westernized by a
18            drinking habit that he openly embraced and displayed. President McSWEENEY
19
              indicated that Defendant PERNIX GROUP would somehow                   be more
20
              competitive in the bidding process for the United States Federal Government if
21
              they did not have Muslim employees (apparently given the present political
22
              environment. Although President McSWEENEY and President ZAYED knew
23
              that ATEF was an Egyptian-American Muslim, and ATEF showed his
24
              opposition to such, they not only openly talked about such, but steered PERNIX
25
              GROUP in that direction with less and less Muslims being employed based
26
              upon illegal policies and practices. ED McSWEENEY, an engineer who had
27
              been elevated to President of PERNIX FEDERAL, and others were changing the
28




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1             culture of PERNIX GROUP from a company that had some diversity to a
2             company which excluded Muslims, Middle-Easterners, and the Disabled.
3          f. In light of his comments, it was not surprising that President McSWEENEY
4             wanted ATEF gone and – along with CEO/President ZAYED and HR Director
5             WATSON – knowingly pursued a campaign of lies and illegal conduct to get rid
6             of ATEF. ATEF was not a Caucasian Christian or a Christian at all. With
7             ATEF'S injury, PERNIX FEDERAL President McSWEENEY now had an
8             opportunity, though illegal, to get rid of ATEF who had made it up the company
9             ladder in spite of being an Egyptian-American Muslim by bringing in Tens of
10            Millions of Dollars of Projects and by Award Winning Engineering work that
11            Defendant PERNIX GROUP cited for years to come when trying to win
12            additional US Governmental Projects. Mr. McSWEENEY could – as he did –
13            lie and say in January 2017 (and echoed thereafter by CEO/President NADAL
14            and HR Director WATSON) that there were no positions available for ATEF
15            and try to force ATEF out before ATEF learned of the various positions that
16            were available or becoming available. In addition to his openly stated desire
17            that he wanted to get rid of Muslims, Mr. McSWEENEY also showed anger at
18            disabled employees who got hurt on the job or otherwise, especially those who
19
              were hurt enough to become “disabled” and/or have a “serious health” condition
20
              (which would cause Defendant PERNIX GROUP to comply with the
21
              FMLA/CFRA and the ADA/FEHA.
22
           g. In addition, CEO/President ZAYED sent an email to ATEF in February 2017
23
              indicating that – in spite of Mr. McSweeney hastily trying to fire ATEF in
24
              January – the following: “I have talked to Ed [referring to President
25
              MCSWEENEY] and considered a place for you on Maputo. The feeling is we
26
              don’t have a spot for you there at present.” President McSWEENEY was one of
27
              the main driving forces stopping ATEF from being given a timely, good faith
28




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1             process, from being accommodated, penultimately wrongfully discharging
2             ATEF (de facto), and ultimately making sure that ATEF was not hired/rehired.
3          h. ATEF thought that since he was standing up for safety and health for the benefit
4             of PERNIX GROUP, he would be rewarded, but instead he had been put into a
5             no-man’s land.      ATEF had seen others (those who are Caucasian, non-
6             minorities, apparently non-Muslims) who had suffered work-related disabilities
7             and were apparently provided a timely, good faith, interactive process,
8             apparently provided a reasonable accommodation, apparently not harassed,
9             discriminated against, and/ retaliated against, not wrongfully discharged and not
10            otherwise illegally mistreated.        As such, although ATEF believed he was
11            illegally mistreated because of his disability/perceived disability, he is also
12            informed and believes, and thereon alleges, that because of the comments made
13            by President McSWEENEY (and others), changing culture, changing
14            hiring/retention practices (by CEO/President ZAYED, President McSWEENEY,
15            HR Director WATSON, and others) away from diversity, the apparent
16            marginalizing/overruling/discharge of other minorities in high positions at these
17            companies (including those who are apparently Muslims and those of Middle-
18            Eastern heritage, ancestry, and/or national origin like myself), and other facts
19
              that the illegal acts against ATEF, may also be because of his national origin,
20
              ancestry, color, race, and religion.
21
           i. ATEF indicated to Defendant PERNIX GROUP in January 2017 and February
22
              2017, and during the course of the ensuing time since then, that he was willing
23
              to move or travel anywhere in the world for his work (as he previously had done
24
              for PERNIX GROUP). ATEF even researched and found an apartment across
25
              the street from Defendant PERNIX GROUP’s home office.             CEO/President
26
              ZAYED put ATEF on the speaker phone with President McSWEENEY in the
27
              room without telling ATEF which (along with the other facts set forth herein)
28
              gave ATEF an uneasy feeling about their collaboration in the illegal actions and


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1             omissions against him. Plaintiff ATEF reminded Defendant PERNIX GROUP
2             of his vast employment experience and expertise that had elevated him within
3             the company prior to ATEF’s disability and requests for accommodation.
4             PERNIX CEO/President ZAYED and Human Resources Director WATSON
5             acted like they were trying to find ATEF a position while President
6             McSWEENEY made it clear he wanted ATEF gone. President McSWEENEY
7             continued with a cold shoulder and stone-walled ATEF – never offering to help
8             ATEF find a job to accommodate ATEF’s disability and never finding any such
9             job.   In spite of CEO/President ZAYED’s and HR Director WATSON’s
10            promises to the contrary, no one from Defendant PERNIX GROUP ever actually
11            offered ATEF a position.
12         j. ATEF, hoping that PERNIX GROUP would fulfill their promises and follow
13            their obligations under the law, continued to notify Defendant PERNIX GROUP
14            of updates related to his disability and continued to ask for a position to return
15            to, even pointing out a few positions that ATEF had found on his own that were
16            open, even though Defendants continued to represent and act as if there were no
17            open positions.    As time passed by, Plaintiff ATEF questioned whether
18            CEO/President ZAYED and Human Resources Director CANDACE WATSON
19
              were acting in “good faith” or lying when they indicated that they were trying to
20
              find ATEF a position to accommodate his disability and that there were no
21
              openings.   Plaintiff is informed and believes, and thereon alleges, that an
22
              investigation has later shown that Defendant PERNIX GROUP (multiple
23
              officers, directors, and managing agents) were lying and that there were many
24
              positions given to non-disabled, non-Muslim, and/or Caucasians during the
25
              period of time from January 2017 to the present without ATEF ever being
26
              offered any of them in spite of the law requiring such and in spite of their
27
              knowledge that they were putting ATEF and his family into a dire situation.
28




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1          k. The officers, directors, and managing agents at the very top of Defendant
2             PERNIX GROUP vacillated between saying that they were going to find ATEF
3             a position and indicating that they might give up, though McSWEENEY soon
4             gave up the act that he wanted to help. As time when by, Defendant PERNIX
5             GROUP contradicted itself and then lied and said that ATEF was going to be a
6             part of a “reduction in force.” When ATEF pointed out that no one else was part
7             of such, Defendant PERNIX GROUP – having been caught in their deception -
8             appeared to back off. In fact, Defendant PERNIX GROUP indicated it would
9             wait to determine things until ATEF’s leave was “final.” It is important to note
10            that Plaintiff was entitled to disability leave up to and longer than one year
11            under the ADA/FEHA and Defendant PERNIX GROUP’s continuing
12            harassment, discrimination, retaliation, and attempts to get rid of Plaintiff ATEF
13            were clearly illegal (certainly as to HR Director WATSON and TANDEM –
14            along with CEO/President ZAYED and President McSWEENEY who had
15            decades of experience regarding these types of matters) since it was far less than
16            a year after ATEF’s disabling injury caused by Defendant PERNIX GROUP’s
17            illegal acts and omissions.    As such, Plaintiff ATEF continued to provide
18            Defendants with updates regarding his work restrictions and sent various
19
              resumes in hopes that Defendants would follow the law and find him a position.
20
              Defendant PERNIX GROUP, however, never asked for ATEF’s updated resume
21
              and did not do anything that followed their empty rhetoric regarding wanting to
22
              help him find a position to come back to. Defendant PERNIX GROUP appeared
23
              to try to “starve” ATEF out by not accommodating him (so he would not receive
24
              his $200,000 salary) and so that ATEF would have to quit – which he did not.
25
              As ATEF asked for positions on his own, he would receive positive remarks
26
              from those he contacted only to not receive an interview or job offer – President
27
              McSWEENEY, President ZAYED and Human Resources Director (who had the
28
              final say) would put a stop to it behind the scene. At one point, Defendant


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1             PERNIX GROUP asked ATEF to sign a Consulting Agreement with the
2             promise in May 2017 that they would continue to look to find ATEF a position
3             to bring him back and would continue to process his security clearance while
4             doing so.     CEO/President ZAYED, however, overruled the idea (from
5             TANDEM HR) indicating that though ATEF was willing to sign it that he –
6             ZAYED – was not willing to sign it because ATEF was still with the company –
7             just on medical leave.
8          l. Defendant PERNIX GROUP continued to imply that ATEF was still with the
9             company, but just on medical leave. In July 2017, ATEF was informed that
10            Defendants were still paying the “employer” portion of his healthcare coverage.
11            On September 30, 2017, President ZAYED’s brother (who was in top
12            management as Director of Corporate and Marketing Services) informed ATEF
13            by email of an open position at Defendant PERNIX GROUP. This email made
14            ATEF optimistic that Defendant PERNIX GROUP was actually looking for
15            positions for him and would finally follow the law and return him to work.
16            After ATEF expressed interest in a reply email, no one ever got back to ATEF
17            regarding the position. PERNIX Group’s deceptive and cruel game continued.
18         m. At the end of October 2017, Defendants – still without saying that they were
19
              discharging ATEF – asked to have an exit interview with ATEF – asking him to
20
              sign “Exit Briefing Acknowledgement” - which is ordinarily (as set forth in
21
              Defendant PERNIX GROUP’s written policies) something done when an
22
              employee is being discharged. To this day, however, ATEF has not be informed
23
              that he was actually and officially discharged, but after the September 30, 2017
24
              communication from Defendant PERNIX GROUP raising a particular job that
25
              ATEF might finally be offered, ATEF had not received much, if any, new signs
26
              that Defendant PERNIX would follow finally through. ATEF has participated
27
              in and was otherwise aware as a manager within Defendant PERNIX GROUP of
28
              the discharge process concerning PERNIX GROUP employees and an official


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1             “termination letter” was almost always - certainly normally - sent. ATEF never
2             received one.   Defendant PERNIX GROUP’s exit interview at the end of
3             October 2017 seemed to be the death knell to any hope that Defendant PERNIX
4             GROUP would do the right thing and follow the law. As time passed into
5             November and December, it looked clearer that ATEF had been deceived by the
6             continuing lies and vacillations by those at the top of Defendant PERNIX
7             GROUP who led ATEF down the proverbial Primrose Path in conscious
8             disregard for ATEF’s rights and with devastating effects that led ATEF to the
9             deepest despair and hurt his family immensely.
10         n. Plaintiff ATEF was never given a timely, good faith, interactive process, was
11            never given a reasonable accommodation, and was instead harassed,
12            discriminated against, retaliated against, wrongfully discharged (de facto) and
13            refused hire/rehire) by those at the top of Defendant PERNIX GROUP –
14            officers, directors, and managing agents. Plaintiff is informed and believes, and
15            thereon alleges, that many times during 2016 and 2017, while lying to ATEF
16            about   following   the    law,   Defendant   PERNIX     GROUP      (specifically
17            CEO/President ZAYED and/or President McSWEENEY) continued to lie to and
18            make false certifications, misrepresentations, false promises, and fraudulent
19
              concealment to the US Government (and perhaps state and local governments)
20
              with each new federal contract obtained and with hundreds of millions of dollars
21
              coming in based upon those lies, including, but not limited to, false claims on
22
              federal contracts on or about the following dates: times in December 2016
23
              (when ATEF was being promised with the benefits of FMLA); January 9, 2017,
24
              January 19, 2017, January 23, 2017, January 26, 2017, February 24, 2017,
25
              March 13, 2017, March 17, 2017, March 29, 2017, May 4, 2017, June 5, 2017,
26
              July 7, 2017, July 3, 2017, July 20, 2017, July 23, 2017, August 23 2017,
27
              September 11, 2017, September 13, 2017, September 26, 2017, September 27,
28
              2017, September 29, 2017, and October 2017, and November 9, 2017 with these


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1             false claims only being a small fraction of the whole. Each time CEO/President
2             ZAYED and/or President McSWEENEY made the numerous express false
3             claims on each date of each new contract or each new claim for money
4             (approximately 700 million over the last 8 years or so), their comments and
5             actions harassing, discriminating against, and retaliating against the disabled,
6             Muslims, and others of other protected categories and specifically their illegal
7             actions against ATEF creeped into their minds as uninvited guests of guilty
8             consciousness as they lied to bring in hundreds of millions. Plaintiff is informed
9             and believes, and thereon alleges, that Defendant PERNIX used written
10            bragging and promises concerning ATEF’s award (for Engineering from the US
11            Government) and ATEF’s experience and good work over the years for
12            Defendant PERNIX which was used to procure each new federal contract.
13         o. Plaintiff is informed and believes, and thereon alleges – based upon information
14            recently received - that there were many positions at Defendant PERNIX
15            GROUP for which he was qualified for and for which his restrictions could be
16            accommodated. Plaintiff is also informed and believes, and thereon alleges, that
17            such positions were filled by other less qualified people who were Caucasian,
18            not disabled, non-Muslim, non-Egyptian-American, had not complained about
19
              safety issues, had not tried to stop Defendants false governmental certifications,
20
              representations, and promises, and had not tried to stand up for their right to a
21
              timely, good faith, interactive process, had not tried to stand up for their right to
22
              a reasonable accommodation, had not tried to stand up for their right not to be
23
              harassed, discriminated against, and/or retaliated against.
24
           p. No one at Defendant PERNIX GROUP – who knew about ATEF’s complaints
25
              of safety issues and ATEF’s disabling injuries caused by PERNIX GROUP’s
26
              illegal actions and omissions - asked about ATEF’s restrictions and/or how they
27
              could help him find an accommodation. ATEF was lied to again and again - and
28
              told that there was nothing open within the company for him to do and no open


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1             positions. Sometimes, as time passed by, ATEF discovered one or more open
2             positions which would lead him to discover that he was being lied to. ATEF
3             sometimes personally saw or heard about positions being advertised within the
4             company that ATEF could do even with his physical restrictions.           Plaintiff
5             watched as time went by and much later learned that position after position, for
6             which ATEF was qualified, were filled by others that were less qualified and/or
7             were not minorities and/or were not Muslim.
8          q. The illegal misconduct against ATEF as summarized herein also was a
9             substantial factor in ATEF losing his security clearance – at least for a period of
10            time. It should be noted, however, that though some of the open jobs required a
11            security clearance, many did not. In addition, ATEF later received his security
12            clearance again.
13         r. During 2017 through the present in 2018, ATEF sent many emails to many
14            within top management at various companies who were either part of his
15            employer (as part of joint ventures and other joint entities) or prospective
16            employers, with such including people within the position of “President,”
17            “CEO,” “Vice President,” “Director,” and other management positions and
18            people within Human Resources, including people within top positions,
19
              including “Director” and lower level positions. Of note, ATEF’s requests for
20
              positions with these employers/prospective employers were often supported by
21
              certain top management persons with written and oral glowing reviews of his
22
              abilities, work ethic, job performance, and character. Plaintiff is informed and
23
              believes, and thereon alleges, many, if not all, of the people contacted for
24
              specific positions were subject to hearing defamatory communications or
25
              communications meant by Defendant PERNIX GROUP to black-ball ATEF
26
              from his profession.
27

28




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1           22.     Plaintiff ATEF’S education and decades of employment experience and abilities
2    made it easy - or should have “but for” the illegal motivations of Defendants – to find him a
3    position in the Illinois corporate office, the North Carolina corporate office, other offices around
4    the United States and projects around the world; ATEF made it clear that he was willing to go
5    anywhere. ATEF was qualified based on his education and prior experience for at least the
6    following jobs which became open from January 2017, and after when ATEF sought to return to
7    work and which ATEF could have performed within his restrictions: Project Manager position-
8    Field position, Planning and Scheduling Analyst-Desk Job, Senior Civil Estimator-Desk job,
9    Quality Control Manager Director of Construction and Operations, Project Executive, Project
10   Coordinator, Site Civil Engineer, Design Engineer, Alt Quality Control Manager, Projects
11   Manager as well as no doubt many other jobs for which ATEF is presently unaware but will
12   learn about during discovery in this case. ATEF is informed and believes, and on that basis
13   alleges, that the above-listed jobs were given to non-disabled and non-Muslim people who were
14   less experienced and had less expertise and ability than ATEF in light of the following education,
15   certifications, skills, employment experience, and abilities.
16          23.     Plaintiff ATEF had worked around the United States and around the world,
17   received numerous praises of his work and, not long before his injury, had even received a
18   promotion. Defendants had many open positions all over the United States and the world that
19
     ATEF was qualified for, but was filled by people with less qualifications who were not disabled
20
     and/or had not complained about safety issues and/or who were Caucasian and/or who were not
21
     Muslim and/or who were younger than ATEF. It is clear from the foregoing that Defendant
22
     PERNIX GROUP’s refusal to find a position for ATEF was not a result of his qualifications
23
     and/or job performance (ATEF’s qualifications and performance were stellar) and/or location of
24
     the positions (ATEF was willing to work all over the world), but rather was based upon the
25
     improper and illegal motives of Defendant PERNIX GROUP set forth throughout this
26
     Complaint.
27
            24.     Plaintiff is informed and believes, and thereon alleges, that the “Board of
28
     Directors” is similarly non-diverse with its Board made up of mostly non-Disabled, non-


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1    Muslims – though one gentleman is Middle-Eastern and may be a Muslim. If so, he should be
2    part of the solution to stop Defendant PERNIX GROUP’s discriminatory practices against
3    ATEF and other Muslims, including discrimination in hiring, promotion, and firing.
4           25.      Plaintiff is informed and believes there are approximately 400 Million Muslim-
5    Americans in the Chicago area and yet Plaintiff is unaware of any Muslims working in
6    Defendant PERNIX GROUP’s Illinois Corporate Office. If there are Muslims working at
7    Defendant PERNIX GROUP in the Illinois Corporate Office, it is a scant few.              President
8    McSWEENEY’s recommendation and President/CEO ZAYED’s agreement that Defendant
9    PERNIX GROUP should stop hiring and start firing – where possible – Muslim employees (for
10   the stated reason that such was necessary in order to be competitive in the US Government
11   bidding process) has been implemented and effective as it concerns the exclusion of Muslims.
12   In addition, McSWEENEY’s rants from the top regarding Middle-Easterners in general (again
13   seeming to lump them in with terrorists) has also led to a thinning of the ranks as far as
14   Middle-Easterners working at Defendant PERNIX GROUP, especially the corporate office in
15   Illinois and North Carolina. Plaintiff is informed and believes and thereon alleges that even
16   though Defendant PERNIX GROUP builds projects all over the world, including projects in
17   predominantly Muslim countries, Defendant PERNIX GROUP has harassed, discriminated
18   against and/or retaliated against Muslim employees and have discriminated against Muslim
19   applicants for employment (even those employees and/or applicants for employment in
20   predominantly Muslim countries).
21          26.      Plaintiff is informed and believes, and thereon alleges, that as a result of the
22
     illegal, malicious, fraudulent, and oppressive acts and omissions by Defendant PERNIX
23
     GROUP, INC. that Plaintiff is entitled to damages, including, but not limited to, the following:
24
                  a. Damages, emotional distress, loss of earnings, liquidated damages (for bad faith
25
                     violation of the FMLA), attorney attorney’s fees, costs of litigation, injunctive
26
                     relief, and other damages and remedies as allowed under:
27
                         i. Family Medical Leave Act (sometimes “FMLA”), 29 USC § 2601 et
28
                            seq.;


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1                ii. Title I of the Americans with Disabilities Act (sometimes "ADA"), 42
2                    U.S.C. § 12132;
3                iii. Title VII of the Civil Rights Act of 1964 (sometimes " Title VII"), 42
4                    U.S.C. § 2000e et seq.;
5                iv. 42 U.S.C. § 1981 (sometimes “1981 action"); and
6                 v. The False Claims Act (sometimes " FCA"), 31 U.S.C. § 3729 et seq.,
7                    specifically the anti-retaliation provision found at Section 3730(h).
8          b. Damages under federal and state claims for severe, excruciating and traumatic
9             emotional distress and physical manifestations of the emotional distress,
10            headaches,    exacerbation    of    those   injuries   and   symptoms,     shaking,
11            gastrointestinal issues, humiliation, crying, grief, nervousness, anger, feeling
12            trapped, questioning life, frustration, frightening questions that plagued and
13            plague his mind (how am I going to provide for my wife and children? Are we
14            going to lose our home? How are we going to pay our bills? and other similar
15            questions), vision problems/loss of vision which required surgical intervention,
16            sleep apnea, irregular heartbeat, high blood pressure, anxiety, insomnia,
17            lethargy, severe depression, feelings of hopelessness, inability, trepidation
18            and/or fear of facing the harassers, dizziness, nausea, disorientation, trouble
19
              concentrating, sorrow, worry, low self-esteem, feeling like nobody cares,
20
              nightmares about work (including nightmares about one of the harassers), fear
21
              that he may see one or more of the harassers somewhere again, weight gain, the
22
              stigma and worry about being threatened with termination, and related
23
              emotional and mental anguish and physical manifestations all in an amount to be
24
              determined by the jury at the trial of this matter;
25
           c. Damages for past loss of earnings, bonuses and benefits, in spite of continuing
26
              attempts at mitigating damages, with such damages increasing each day, plus
27
              interest in an amount to be determined by the jury at the trial of this matter;
28




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1          d. Damages for loss of earning capacity related to the vision problems/loss of
2             vision which required surgical intervention and the medical bills related to the
3             required surgery;
4          e. Damages under federal and state claims for future loss of earnings, bonuses and
5             benefits, in spite of continuing attempts at mitigating damages, in an amount to
6             be determined by the jury at the trial of this matter;
7          f. Damages under federal and state claims for consequential financial losses and
8             additional emotional distress damages, increasing with each day, including, but
9             not limited to, the inability to timely pay bills resulting in fees and penalties for
10            failure to pay timely, harassing communications from bill collectors, and other
11            consequential losses all of which have put extreme pressure on his life, family,
12            and other treasured relationships, inflaming anxiety and arguments and causing
13            further severe emotional distress in an amount to be determined by the jury at
14            the trial of this matter;
15         g. Damages and other remedies under the United States False Claims Act (31 U.S.
16            Code § 3729 et. Seq.) and the California False Claims Act (Government Code,
17            Section 12653(a)), including, but not limited to, the following under similar
18            language: “all relief necessary” as set forth herein to make ATEF “whole,”
19            including, but not limited reinstatement with the same seniority status Plaintiff
20            had “but for” Defendants’ illegal misconduct against Plaintiff, two times the
21            amount of back pay, interest on the back pay, compensation for the other special
22            damages described herein, attorney’s fees and costs, and punitive damages,
23            including treble punitive damages, which are appropriate. Under Government
24            Code, Section 12655(a) and (c), “the provisions of this article are not exclusive,
25            and the remedies provided for in this article shall be in addition to any other
26            remedies provided for in any other law or available under common law” and
27            “this article shall be liberally construed and applied to promote the public
28            interest.”


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1          h. Damages, pursuant to the Federal Claims listed above and below and
2             Government Code, Section 12965(b) and California Code of Civil Procedure,
3             Section 1021.5, for the costs of hiring an attorney to pursue recovery for
4             defendants’ multiple violations of law as set forth in this complaint and for the
5             litigation costs and expert witness fees attendant to prosecuting this lawsuit
6             regarding the multiple violations of the Fair Employment & Housing Act
7             (Government Code, Section 12940, et seq) in an amount to be determined by
8             the court upon a finding by the jury, in the special verdict, of at least one
9             violation by defendants of the Fair Employment & Housing Act;
10         i. Damages, pursuant to the Federal Claims listed above and below and
11            Government Code, Section 12653(b) and California Code of Civil Procedure,
12            Section 1021.5, for the costs of hiring an attorney to pursue recovery for
13            defendants’ multiple violations of law as set forth in this complaint and for the
14            litigation costs attendant in prosecuting this lawsuit regarding the multiple
15            violations of the whistle-blower harassment, discrimination, and retaliation part
16            of the United States False Claims Act (31 U.S. Code § 3729 et. Seq.) and
17            California False Claims Act (Government Code, Section 12653 et seq);
18         j. Damages pursuant to Labor Code, Section 1102.5;
19         k. Damages pursuant to Labor Code, Section 6310(b), plaintiff is entitled to: “Any
20            employee who is discharged, threatened with discharge, demoted, suspended, or
21            in any other manner discriminated against in the terms and conditions of
22            employment by his or her employer because the employee has made a bona fide
23            oral or written complaint to the division, other governmental agencies having
24            statutory responsibility for or assisting the division with reference to employee
25            safety or health, his or her employer, or his or her representative, of unsafe
26            working conditions, or work practices, in his or her employment or place of
27
              employment, or has participated in an employer-employee occupational health
28
              and safety committee, shall be entitled to reinstatement and reimbursement for


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1             lost wages and work benefits caused by the acts of the employer. Any employer
2             who willfully refuses to rehire, promote, or otherwise restore an employee or
3             former employee who has been determined to be eligible for rehiring or
4             promotion by a grievance procedure, arbitration, or hearing authorized by law, is
5             guilty of a misdemeanor.”
6          l. Mandatory and prohibitory injunctions requiring defendants and each of them to
7             stop the continuing illegal violations of the federal and state laws set forth above
8             and below;
9          m. Plaintiff is informed and believes, and thereon alleges, that as to these unlawful,
10            unfair and fraudulent business practices, the remedies at law are inadequate.
11            Plaintiff is informed and believes, and thereon alleges, that the above unlawful,
12            unfair and fraudulent business practices are of a continuing nature and are
13            practices engaged in by Defendants, and each of them. As such, on behalf of the
14            general public, Plaintiff respectfully requests that an injunction against
15            Defendants, and each of them, be issued to enjoin them from continuing to
16            engage in each and every of the unfair, unlawful and fraudulent conduct alleged
17            above.
18         n. Plaintiff further alleges that Defendant PERNIX GROUP, and DOES 1-100, and
19
              each of them, have been unjustly enriched through their use of the unfair, illegal
20
              and fraudulent business practices, in an amount to be determined at trial. On
21
              behalf of the general public, Plaintiff respectfully requests that the court order
22
              any other further equitable relief deemed necessary by the court, including,
23
              without limitation, an order or judgment restoring to every person any interest in
24
              money or property which may have been acquired by Defendants through the
25
              unfair practices alleged, and/or for restitution or relief requiring Defendants to
26
              disgorge the profits illegally and unfairly earned by Defendants as a result of
27
              such unfair business practices.
28




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1          o. Additionally, pursuant to California Code of Civil Procedure, Section 1021.5,
2             Plaintiff seeks an award of attorneys’ fees upon prevailing on the Unfair
3             Business Practices cause of action and/or any other cause of action which has
4             resulted in the enforcement of an important right affecting the public interest
5             and: (a) a significant benefit, whether pecuniary or nonpecuniary, has been
6             conferred on the general public or a large class of persons, (b) the necessity and
7             financial burden of private enforcement, or of enforcement by one public entity
8             against another public entity, are such as to make the award appropriate, and (c)
9             such fees should not in the interest of justice be paid out of the recovery, if any.
10         p. For the Fraud Counts (False Promise, Concealment and Intentional
11            Misrepresentation):
12                i. Plaintiff was defrauded out of a position and is entitled to that out of
13                   pocket loss plus interest;
14               ii. Plaintiff did not receive the benefits of his bargain which included return
15                   to a position in January 2017 or thereafter as other ones became
16                   available;
17               iii. Plaintiff suffered consequential financial losses as a result of being
18                   defrauded, including loss of earnings associated with the false promises,
19
                     intentional misrepresentations, and concealment and financial fall out of
20
                     such in an amount to be determined by the jury at the trial of this matter;
21
                 iv. As a result of Defendant’s false promises, intentional misrepresentations,
22
                     and concealment regarding finding ATEF a position, returning him to
23
                     work and his employment status, Defendant should be estopped from
24
                     asserting that ATEF was not employed and/or should be estopped from
25
                     asserting any time defense to any of the claims set forth herein.
26
                 v. Plaintiff suffered severe and excruciating emotional distress as described
27
                     above in more detail in an amount to be determined by the jury at the
28
                     trial of this matter;


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1                vi. Plaintiff is entitled to equitable relief in the form of a TRO, preliminary
2                    injunction and/or permanent injunction (both mandatory and/or
3                    prohibitory) to stop the unfair, illegal and fraudulent practices and
4                    conduct of Defendant PERNIX GROUP, INC. and DOES 1-100, and
5                    each of them, as set forth herein and to restore Plaintiff to the position
6                    out of which he was defrauded; and
7               vii. Plaintiff, pursuant to California Code of Civil Procedure, Section 1021.5,
8                    is entitled an award of attorneys’ fees upon prevailing on this cause of
9                    action in light of the public nature of this fraudulent scam and numerous
10                   others who need to be protected.
11         q. The wrongful conduct of Defendants, and each of them, described above was
12            intended by Defendants, and each of them, to cause injury to Plaintiff and was
13            despicable, mean, and vile conduct carried on by Defendants, and each of them,
14            with a willful and conscious disregard of the rights of Plaintiff, subjecting him
15            to cruel and unjust hardship, and was an intentional misrepresentation and
16            concealment of material facts known to Defendants with the intent to deprive
17            Plaintiff of property, legal rights, or to otherwise cause injury, such as to
18            constitute malice, oppression and/or fraud under California Civil Code section
19
              3294, thereby entitling Plaintiff to punitive damages in an amount sufficient to
20
              punish Defendants or to make an example of Defendants to prevent such
21
              conduct by others.
22
           r. Plaintiff is informed and believes, and thereon alleges, that one or more of the
23
              following factors have been met thereby establishing the liability of Defendants,
24
              and each of them, for treble punitive damages pursuant to California Civil Code,
25
              Section 3345:
26
                  i. Defendants, and each of them, “knew or should have known that his or
27
                     her conduct was directed to one or more senior citizens or disabled
28
                     persons;”


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1                       ii. Defendants, and DOES 1-100, and each of them, “caused one or more
2                           senior citizens or disabled persons to suffer: loss or encumbrance of a
3                           primary residence, principal employment, or source of income;
4                           substantial loss of property set aside for retirement, or for personal or
5                           family care and maintenance; or substantial loss of payments received
6                           under a pension or retirement plan or a government benefits program, or
7                           assets essential to the health or welfare of the senior citizen or disabled
8                           person;” and/or
9                      iii. Plaintiff and other victims of the fraudulent conduct were “senior
10                          citizens or disabled persons” who were “substantially more vulnerable
11                          than other members of the public to the defendant's conduct because of
12                          age, poor health or infirmity, impaired understanding, restricted
13                          mobility, or disability, and actually suffered substantial physical,
14                          emotional, or economic damage resulting from the defendant's conduct.”
15                       EXHAUSTION OF ADMINISTRATIVE REMEDIES
16             27.   Plaintiff has exhausted his state and federal administrative remedies by timely
17   filing an administrative complaint (and amended complaints) with the Equal Opportunity
18   Commission (EEOC) and the Department of Fair Employment & Housing (“DFEH”) and
19
     receiving a Right to Sue letter from the EEOC within 90 days of filing this lawsuit and
20
     receiving a Right to Sue letter from the DFEH within one year of the filing of this lawsuit.
21                                            FIRST COUNT
                     VIOLATION OF THE FAMILY MEDICAL LEAVE ACT
22                                   (FMLA) 29 USC § 2601 ET. SEQ
                 [AGAINST DEFENDANT PERNIX GROUP, INC., and DOES 1-100]
23
               28.   Plaintiff repeats and realleges each and every allegation contained in preceding
24
     paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth
25
     herein.
26
               29.   At all relevant times, Defendant PERNIX GROUP and DOES 1-100 were
27
     “employers,” dual employers, joint venturers, and/or other entities for which joint and/or several
28




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1    liability attaches under this cause of action.
2           30.      Defendant PERNIX GROUP and DOES 1-100, upon learning that ATEF had
3    suffered a serious health condition, knew or should have known that they had to meet certain
4    requirements under Family Medical Leave Act (sometimes “FMLA”), 29 USC § 2611 et seq.:
5                 a. Defendants PERNIX GROUP and DOES 1-100, and each of them, were
6                    required to post a notice regarding FMLA rights and include certain mandatory
7                    provisions it in its employee handbook; Defendant PERNIX GROUP’s employee
8                    handbook, as set forth above, actually contained completely inaccurate, illegal,
9                    and fraudulent provisions;
10                b. Defendants PERNIX GROUP and DOES 1-100, and each of them, were required
11                   to timely (within five business days of when the employer acquires knowledge
12                   that an employee leave may be for an FMLA-qualifying event) send ATEF a
13                   letter specifically designating his leave as qualifying under the FMLA and
14                   notifying him of his rights under the law including, but not limited to, the length
15                   of the leave allowed under these laws (12 weeks) and a promise that his position
16                   would be kept open for 12 weeks.
17                c. Defendants PERNIX GROUP and DOES 1-100, and each of them, knew that
18                   they could not in any way interfere with ATEF’s taking of the leave and/or harass,
19                   discriminate against and/or retaliate against him in any way for requesting a leave,
20                   taking the leave or for asserting his rights under the law.
21          31.      In spite of its knowledge of the requirements of the law, Defendant PERNIX
22
     GROUP and DOES 1-100, and each of them, consciously disregarded the rights of ATEF and
23
     violated the Family Medical Leave Act by numerous acts, including but not limited to those set
24
     forth above and summarized here:
25
                  a. Knowingly, wrongfully, and fraudulently misrepresenting and concealing in their
26
                     written policies (see above) and in oral conversation ATEF’s rights and the rights
27
                     of numerous other employees under the FMLA; as set forth above, Defendant
28
                     PERNIX GROUP’s employee handbook contains completely inaccurate, illegal,


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1                    and fraudulent provisions indicating that the FMLA is “inapplicable” to
2                    Defendant PERNIX GROUP, INC. and misrepresenting Defendant PERNIX
3                    GROUP’s obligations and the rights of ATEF and many other employees.
4                 b. Knowingly and wrongfully harassing ATEF, interfering with ATEF’s leave,
5                    discriminating against ATEF, and retaliating against ATEF as a result of his
6                    requesting and taking of a family medical leave (related to his serious health
7                    condition), his objection to the illegal practices and treatment, and for standing up
8                    for his right to not be subject to such unlawful conduct; and
9                 c. Knowingly and wrongfully terminating ATEF’s employment (de facto) and
10                   refusing to hire/rehire him, in violation of the FMLA, which required PERNIX
11                   GROUP to bring him back to the same or similar position and was otherwise
12                   illegal since these illegal acts were for requesting and/or taking his family medical
13                   leavesrequesting other family medical leave, in furtherance of the unlawful
14                   interference, discrimination, harassment and retaliation under the FMLA, for
15                   objecting to the illegal conduct, and standing up for his rights under the FMLA
16                   and his right not to be subject to such unlawful conduct;
17          32.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
18   policies, practices, acts and omissions (set forth throughout this Complaint and including, but
19   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
20   suffered, and continues to suffer, general and special damages for which he seeks the following
21   damages and remedies as set forth more fully in Paragraph 26 above:
22                a. Damages sufficient to compensate Plaintiff for his injuries;
23                b. Past loss of earnings, benefits, and interest;
24                c. Future loss of earnings, benefits, and interest;
25                d. Pre-judgment and post-judgment interest;
26                e. Reasonable attorney's fees;
27                f. Costs of this action;
28                g. Injunctive relief;


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1                    h. All damages and remedies allowed under the FMLA;
2                    i. Emotional Distress Damages; and
3                    j. Any and all other damages and relief that this Honorable Court may deem just
4                       and equitable.
5
                                      SECOND COUNT
6              VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (“ADA”)
                                   42 U.S.C. 12101 ET. SEQ.
7                  [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
8              33.      Plaintiff repeats and realleges each and every allegation contained in preceding
9    paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth
10   herein.
11             34.      Under the ADA, the term " disability" means that an individual has: (1) a physical
12   or mental impairment that substantially limits one or more " major life activities"; (2) a record of

13   such impairment; or (3) being regarded as having such an impairment. 42 U.S.C. § 12102(1).

14   Further, the ADA defines " major life activities" as including, but not limited to: " caring for

15   oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking, standing, lifting,

16   bending, speaking, breathing, learning, reading, concentrating, thinking, communicating, and

17   working." 42 U.S.C. § 12102(2)(A). As set forth more fully above, Plaintiff, at all relevant

18   times, was “disabled” and/or regarded as disabled” under the ADA as his injury caused a

19   “substantial limitation” on a “major life activity;” namely walking.

20             35.      The ADA defines a " qualified individual" as " an individual who, with or without

21   reasonable accommodation, can perform the essential functions of the employment position that

22   such individual holds or desires." 42 U.S.C. § 12111(8). The United States Equal Employment

23   Opportunity Commission (" EEOC") regulations provide that the essential functions are the "

24   fundamental job duties" of a position, rather than the position's " marginal functions," and that

25
     courts should examine several factors to determine essential functions. [1] 29 C.F.R. §

26
     1630.2(n)(1)-(3). As set forth more fully above, Plaintiff was qualified to do his job and many

27
     other jobs (including the essential functions of those jobs) at Defendant PERNIX GROUP, INC

28
     with or without a reasonable accommodation. When ATEF initially asked to be returned to work



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1    by Defendant PERNIX, Plaintiff ATEF could have returned to a desk job in numerous and
2    various engineering and related positions that were open and given to less qualified non-disabled
3    individuals. ATEF was later allowed by his physicians to not only perform a desk job, but was
4    also allowed by his physicians to travel as part of his job and, Defendant PERNIX GROUP gave
5    away additional numerous and varied positions to less qualified, non-disabled individuals.
6           36.      As set forth more fully above, within two months of Plaintiff ATEF’s disabling

7    injury, and within hours of ATEF’s attempt to return to work (certainly temporal proximity) and

8    continuing through the end of 2017, Defendant PERNIX GROUP refused to provide a timely,

9    good faith, interactive process, refused to provide a reasonable accommodation, and harassed

10   him, discriminated against him, retaliated against him, refused to find and give him open

11   positions, lied to him about the lack of open positions and their purported attempts to find such,

12   wrongfully discharged him, and refused to rehire him all “on the basis of” (under the “but for”

13   test) of Plaintiff ATEF’s disability, perceived disability, ATEF’s standing up for his rights

14   concerning his disability, and ATEF’s opposing Defendant PERNIX GROUP’s illegal acts and

15   omissions concerning ATEF’s disability. Plaintiff ATEF’s allegation that Defendant PERNIX

16   GROUP’S illegal actions and omissions were on the basis of (“but for”) his disability/perceived

17   disability is not only based upon the close temporal proximity, but also the numerous factual

18   circumstances and context of Defendant PERNIX GROUP’s illegal acts and omissions.

19          37.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal

20   policies, practices, acts and omissions (set forth throughout this Complaint and including, but

21   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has

22   suffered, and continues to suffer, general and special damages for which he seeks the following

23   damages and remedies as set forth more fully in Paragraph 26 above:

24                a. Damages sufficient to compensate Plaintiff for his injuries;

25                b. Past loss of earnings, benefits, and interest;

26                c. Future loss of earnings, benefits, and interest;

27                d. Pre-judgment and post-judgment interest;

28                e. Reasonable attorney's fees;



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1                    f. Costs of this action;
2                    g. Injunctive relief;
3                    h. All damages and remedies allowed under the ADA;
4                    i. Punitive damages and treble punitive damages;
5                    j. Emotional Distress Damages; and
6                    k. Any and all other damages and relief that this Honorable Court may deem just

7                       and equitable.

8
                                             THIRD COUNT
9
                     VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
10                               (“TITLE VII”) 42 U.S.C. § 2000e ET. SEQ.);
                       [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
11

12             38.      Plaintiff repeats and realleges each and every allegation contained in preceding

13   paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth

14   herein.

15             39.      Title VII of the Civil Rights Act of 1964 (“Title VII”) 42 U.S.C. 2000e-2(a)(1)(2)

16   prohibits the following acts or omissions by employers such as Defendant PERNIX GROUP,

17   INC. who employ fifteen or more employees:

18                   a. “(1) to fail or refuse to hire or to discharge any individual, or otherwise to

19                      discriminate against any individual with respect to his compensation, terms,

20                      conditions, or privileges of employment, because of such individual’s race, color,

21                      religion, sex, or national origin; or

22                   b. “(2) to limit, segregate, or classify his employees or applicants for employment in

23                      any way which would deprive or tend to deprive any individual of employment

24                      opportunities or otherwise adversely affect his status as an employee, because of

25
                        such individual’s race, color, religion, sex, or national origin.”

26
               40.      Under the case law, Title VII’s prohibited actions by employers (relevant to this

27
     case) have been clarified and/or expanded to include, but not be limited to, the following:

28
                     a. Harassment (“Hostile Environment”) Claim:               “To state a hostile work



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1             environment claim based on national origin, a plaintiff must allege that: (1) he "
2             was subject to unwelcome harassment" ; (2) " the harassment was based on [his]
3             national origin" ; (3) " the harassment was severe or pervasive so as to alter the
4             conditions of employment and create a hostile or abusive working environment" ;
5             and (4) " there is basis for employer liability." In determining whether a
6             workplace is objectively hostile, we consider the totality of the circumstances,

7             including: " the frequency of the discriminatory conduct; its severity; whether it is

8             physically threatening or humiliating, or a mere offensive utterance; and whether

9             it unreasonably interferes with an employee's work performance." [T]he specific

10            circumstances of the working environment and the relationship between the

11            harassing party and the harassed" also " bear on whether that line is crossed."

12         b. Discrimination (“Disparate Treatment”) Claim: To establish a Title VII disparate

13            treatment claim, a plaintiff must allege that an employer took job-related action

14            against him which was motivated by intentional discrimination. An adverse

15            employment action is "a materially adverse change in the terms and conditions of

16            employment [that is] more disruptive than a mere inconvenience or an alteration

17            of job responsibilities." Such actions include: (1) diminishing an " employee's

18            compensation, fringe benefits, or other financial terms of employment," including

19
              termination; (2) reducing long-term career prospects " by preventing him from

20
              using the skills in which he is trained and experienced, so that the skills are likely

21
              to atrophy and his career is likely to be stunted" ; and (3) changing " the

22
              conditions in which [an employee] works ... in a way that subjects him to a

23
              humiliating, degrading, unsafe, unhealthful, or otherwise significantly negative

24
              alteration in his workplace environment."
           c. Retaliation Claim: To state a claim for retaliation under Title VII, a plaintiff must
25
              allege that he " engaged in statutorily protected activity" and suffered an adverse
26
              action[39] " as a result of that activity.” Title VII also prohibits discriminating
27
              against an employee " because [she] has made a charge, testified, assisted, or
28




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1                   participated in any manner in an investigation, proceeding, or hearing under this
2                   subchapter." 42 U.S.C. § 2000e--3(a). The range of conduct prohibited under
3                   [Title VII's] anti-retaliation provision is broader than its anti-discrimination
4                   provision."    In the context of a retaliation claim, " 'the discriminatory acts
5                   proscribed by Title VII ... are not limited to those that affect the terms and
6                   conditions of one's employment.'"

7           41.     The Seventh Circuit has found that the facts necessarily will vary in Title VII

8    cases, and the “... prima facie proof required from [employees] is not necessarily applicable in

9    every respect to differing factual situations." Title VII plaintiffs need only initially " create an

10   inference that an employment decision was based on [an illegal] discriminatory criterion." “All

11   evidence belongs in a single pile and must be evaluated as a “whole" rather than separated

12   artificially between direct and indirect methods of proof. As such, " [t]he expression 'prime facie

13   case' in Title VII litigation popularly refers to a common, but not exclusive, method of

14   establishing a triable issue of intentional discrimination."

15          42.     As set forth more fully above, Defendant PERNIX GROUP illegally harassed (in

16   a severe and pervasive way so as to “so as to alter the conditions of employment and create a

17   hostile or abusive working environment”) discriminated against, and retaliated against ATEF

18   based upon his national origin, race, color, ancestry, religion, standing up for his rights, and

19
     opposing illegal actions/omissions against him and others through numerous and varied acts and

20
     omissions that not only constituted “adverse employment actions” causing Plaintiff millions of

21
     dollars in lost earnings (past and future loss of earnings at approximately $200,000 a year), but

22
     also caused Plaintiff severe emotional distress and otherwise hurt Plaintiff and his family. The

23
     fact that such illegal actions by Defendant PERNIX GROUP and DOES 1-100 was based on

24
     national origin, color, race, ancestry, religion and other protected categories is supported not only
     by the temporal proximity and the less qualified non-Disabled, non-Muslim, Non-Egyptian-
25
     Americans who were given the open positions instead of Plaintiff and the non-Disabled, Non-
26
     Muslim, Non-Egyptian-Americans who were promoted instead of Plaintiff, but also because of
27
     the harassing, discriminatory, and retaliatory statements made and conduct by Defendant
28




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1    PERNIX GROUP’s top officers, directors, and “managing agents” (showing their harassing,
2    discriminatory, and retaliatory animus) and the other circumstances set forth throughout this
3    Complaint.
4              43.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
5    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
6    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
7    suffered, and continues to suffer, general and special damages for which he seeks the following
8    damages and remedies as set forth more fully in Paragraph 26 above:
9                    a. Damages sufficient to compensate Plaintiff for his injuries;
10                   b. Past loss of earnings, benefits, and interest;
11                   c. Future loss of earnings, benefits, and interest;
12                   d. Pre-judgment and post-judgment interest;
13                   e. Reasonable attorney's fees;
14                   f. Costs of this action;
15                   g. Injunctive relief;
16                   h. All damages and remedies allowed under the Title VII;

17                   i. Punitive damages and treble punitive damages;

18                   j. Emotional Distress Damages; and

19                   k. Any and all other damages and relief that this Honorable Court may deem just

20                      and equitable.

21                                       FOURTH COUNT
22
                             VIOLATION OF 42 U.S.C. § 1981 (“1981 CLAIM”)
                       [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
23
               44.      Plaintiff repeats and realleges each and every allegation contained in preceding
24
     paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth
25
     herein.
26
               45.      This claim proceeds under 42 U.S.C. § 1981, part of the Civil Rights Act of 1866,
27
     which according to the U.S. Supreme Court and the Seventh Circuit Court of Appeals is to
28
     proceed under the same general elements of the preceding Title VII claim. This claim, however,


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1    does not require exhaustion through the EEOC, has a longer statute of limitations, is not subject
2    to the damage caps enforced under Title VII and has other different procedural facets as
3    compared to the Title VII claims.
4           46.      As set forth more fully above, Defendant PERNIX GROUP illegally harassed (in
5    a severe and pervasive way so as to “so as to alter the conditions of employment and create a
6    hostile or abusive working environment”) discriminated against, and retaliated against ATEF

7    based upon his national origin, race, color, and ancestry, through numerous and varied acts and

8    omissions that not only constituted “adverse employment actions” causing Plaintiff millions of

9    dollars in lost earnings (past and future loss of earnings at approximately $200,000 a year), but

10   also caused Plaintiff severe emotional distress and otherwise hurt Plaintiff and his family. The

11   fact that such illegal actions by Defendant PERNIX GROUP was based on national origin, color,

12   race, and ancestry is supported not only by the temporal proximity and the less qualified Non-

13   Egyptian-Americans who were given the open positions instead of Plaintiff and the Non-

14   Egyptian-Americans who were promoted instead of Plaintiff, but also because of the harassing,

15   discriminatory, and retaliatory statements made and conduct by Defendant PERNIX GROUP’s

16   top officers, directors, and “managing agents” (showing their harassing, discriminatory, and

17   retaliatory animus) and the other circumstances set forth throughout this Complaint.

18          47.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal

19   policies, practices, acts and omissions (set forth throughout this Complaint and including, but

20   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has

21   suffered, and continues to suffer, general and special damages for which he seeks the following

22   damages and remedies as set forth more fully in Paragraph 26 above:

23                a. Damages sufficient to compensate Plaintiff for his injuries;

24                b. Past loss of earnings, benefits, and interest;

25                c. Future loss of earnings, benefits, and interest;

26                d. Pre-judgment and post-judgment interest;

27                e. Reasonable attorney's fees;

28                f. Costs of this action;



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1                    g. Injunctive relief;
2                    h. All damages and remedies allowed under Section 1981;
3                    i. Punitive damages and treble punitive damages;
4                    j. Emotional Distress Damages; and
5                    k. Any and all other damages and relief that this Honorable Court may deem just
6                       and equitable.
                                          FIFTH COUNT
7
                     WHISTLEBLOWER PROTECTION OF THE FALSE CLAIMS ACT
8                                       (31 U.S.C. § 3730(h))
                      [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
9
               48.      Plaintiff repeats and realleges each and every allegation contained in preceding
10
     paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth
11
     herein.
12
               49.      Plaintiff brings this action under the anti-Retaliation provision found at 31 U.S.C.
13
     Section 3730(h)(1) which provides as follows: “Any employee, contractor, or agent shall be
14
     entitled to all relief necessary to make that employee, contractor, or agent whole, if that
15
     employee, contractor, or agent is discharged, demoted, suspended, threatened, harassed, or in any
16
     other manner discriminated against in the terms and conditions of employment because of lawful
17
     acts done by the employee, contractor, agent or associated others in furtherance of an action
18
     under this section or other efforts to stop 1 or more violations of this subchapter.” An employee
19
     need not have actual knowledge of the FCA for his or her actions to be considered "protected
20
     activity" under § 3730(h). If so, only those with sophisticated legal knowledge would be
21
     protected by the statute. In the past, courts have said that an employee must show that an FCA
22
     action is a "distinct possibility" at the time of the investigation for his actions to be considered
23
     "protected activity." This was not meant to contradict the rule that does not require actual
24   knowledge of the FCA, however. It implied instead that there is an objective component to the
25   test for a claim under § 3730(h), as well as a subjective one. The relevant inquiry to determine
26   whether an employee's actions are protected under § 3730(h) is whether: "(1) the employee in
27   good faith believes, and (2) a reasonable employee in the same or similar circumstances might
28   believe, that the employer is committing fraud against the government.”


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1           50.     Plaintiff ATEF knew, from his experience with participating in negotiations with
2    the federal government on behalf of Defendant (and other employers for that matter) that
3    Defendant PERNIX GROUP, INC. expressly and impliedly certified hundreds of times to the
4    U.S. Government (as well as state and local governments) each time it contracted that it had
5    followed, was following, and would follow anti-discrimination laws, conduct periodic
6    inspections to insure compliance with such, and was and is following safety laws.

7           51.     In light of the facts set forth above and throughout this Complaint establishing

8    violation of safety laws and anti-discrimination laws, Plaintiff was aware that Defendant

9    PERNIX GROUP, INC.’s express and implied certifications were false and made by Defendant

10   PERNIX GROUP, INC.’s top officers, directors and managing agents, including NIDAL

11   ZAYED and EDWARD McSWEENEY, with the knowledge that such certifications were false

12   in that they themselves and the company had violated, were violating, and would continue to

13   violate the very anti-discrimination laws they certified, that they did not conduct periodic

14   reviews to insure compliance, and that they did not intend to follow such laws the hundreds of

15   times that they certified such, including, but not limited to, the last few years at a minimum, and

16   specifically including with certainty the following dates that they made the false certifications

17   and false claims December 2016 (when ATEF was being promised with the benefits of FMLA);

18   January 9, 2017, January 19, 2017, January 23, 2017, January 26, 2017, February 24, 2017,

19
     March 13, 2017, March 17, 2017, March 29, 2017, May 4, 2017, June 5, 2017, July 7, 2017, July

20
     3, 2017, July 20, 2017, July 23, 2017, August 23 2017, September 11, 2017, September 13,

21
     2017, September 26, 2017, September 27, 2017, September 29, 2017, and October 2017, and

22
     November 9, 2017 with these false claims only being a small fraction of the whole. Each time

23
     CEO/President ZAYED and/or President McSWEENEY made the numerous express false

24
     claims on each date of each new contract or each new claim for money (approximately $700
     million over the last 8 years or so), their comments and actions harassing, discriminating against,
25
     and retaliating against the disabled, Muslims, and others of other protected categories and
26
     specifically their illegal actions against ATEF creeped into their minds as uninvited guests of
27
     guilty consciousness as they lied to bring in hundreds of millions.
28




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1           52.      Plaintiff investigated such false certifications and false claims and tried to stop
2    such with the good faith belief (and the reasonable belief of someone sitting in his shoes) that
3    Defendant PERNIX GROUP’s express and implied certifications that they have followed, were
4    following and would follow anti-discrimination laws and would periodically review such
5    compliance were false. As a result of his investigation of such and his attempts to stop such,
6    Defendant PERNIX GROUP retaliated by refusing to provide a timely, good faith, interactive

7    process, refusing to provide a reasonable accommodation, interfering with his CFRA/FMLA

8    leave, harassing him, discriminating against him, retaliating against him, wrongfully discharging

9    him (de facto) and not hiring/rehiring him, among other retaliatory acts set forth above.

10          53.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal

11   policies, practices, acts and omissions (set forth throughout this Complaint and including, but

12   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has

13   suffered, and continues to suffer, general and special damages for which he seeks the following

14   damages and remedies as set forth more fully in Paragraph 26 above:
15                a. Damages sufficient to compensate Plaintiff for his injuries;
16                b. Double past loss of earnings, benefits, and interest;

17                c. Future loss of earnings, benefits, and interest;

18                d. Pre-judgment and post-judgment interest;

19                e. Reasonable attorney's fees;

20                f. Costs of this action;

21                g. Injunctive relief;

22                h. All damages and remedies allowed under the United States False Claims Act;

23                i. Punitive damages and treble punitive damages;

24                j. Emotional Distress Damages; and

25                k. Any and all other damages and relief that this Honorable Court may deem just

26                   and equitable.
                                     SIXTH COUNT
27                 VIOLATION OF THE CALIFORNIA FAMILY RIGHTS ACT
               (CALIFORNIA GOVERNMENT CODE, SECTION 12945.1 ET. SEQ.);
28
                 [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]


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1
               54.      Plaintiff repeats and realleges each and every allegation contained in preceding
2
     paragraphs, inclusive, and incorporates the same herein by reference as though fully set forth
3
     herein.
4
               55.      At all relevant times, Defendant PERNIX GROUP and DOES 1-100 were
5
     “employers,” dual employers, joint venturers, and/or other entities for which joint and/or several
6
     liability attaches under this cause of action.
7
               56.      Defendant PERNIX GROUP and DOES 1-100, upon learning that ATEF had
8
     suffered a serious health condition, knew or should have known that they had to meet certain
9
     requirements under the California Family Rights Act (“CFRA”- California Government Code,
10
     Section 12945.2) which had adopted - as a part of state law - various portions of similar federal
11
     laws (including the Family Medical Leave Act “FMLA” - 29 USC Section 2601 et seq.):
12
                     a. Defendants PERNIX GROUP and DOES 1-100, and each of them, were
13
                        required to post a notice regarding CFRA rights and include certain mandatory
14
                        provisions it in its employee handbook; as set forth above, Defendant PERNIX
15
                        GROUP’s employee handbook actually contains completely inaccurate, illegal,
16
                        and fraudulent provisions;
17
                     b. Defendants PERNIX GROUP and DOES 1-100, and each of them, were required
18
                        to timely (within ten days at the latest) send ATEF a letter specifically designating
19
                        his leave as qualifying under the CFRA and notifying him of his rights under
20
                        these laws including, but not limited to, the length of the leave allowed under
21
                        these laws (12 weeks) and a promise that his position would be kept open for 12
22
                        weeks.    2 Cal.C.Regs. Sections 7297.2(a),(c) and 7297.9(a),(d); California
23
                        Government Code, Sections 12945.2(a) and 12950(a); 29 CFR Section
24
                        825.301(b)(1).
25
                     c. Defendants PERNIX GROUP and DOES 1-100, and each of them, knew that
26
                        they could not in any way interfere with ATEF’s taking of the leave and/or harass,
27
                        discriminate against and/or retaliate against him in any way for requesting a leave,
28




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1                    taking the leave or for asserting his rights under the law. 29 CFR Section
2                    825.700(a); California Government Code, Sections 12940(h), 12945.2(a),(l) and 2
3                    Cal.C.Regs. Section 7297.7;
4           57.      In spite of its knowledge of the requirements of the law, Defendant PERNIX
5    GROUP and DOES 1-100, and each of them, consciously disregarded the rights of ATEF and
6    violated the California Family Rights Act by numerous acts, including but not limited to those
7    set forth above and summarized here:
8                 a. Knowingly, wrongfully, and fraudulently misrepresenting and concealing in their
9                    written policies (see above) and in oral conversation ATEF’s rights and the rights
10                   of numerous other employees under the CFRA; as set forth above, Defendant
11                   PERNIX GROUP’s employee handbook contains completely inaccurate, illegal,
12                   and fraudulent provisions indicating that the CFRA is “inapplicable” to Defendant
13                   PERNIX GROUP, INC. and misrepresenting Defendant PERNIX GROUP’s
14                   obligations and the rights of ATEF and many other employees.
15                b. Knowingly and wrongfully harassing ATEF, interfering with ATEF’s leave,
16                   discriminating against ATEF, and retaliating against ATEF as a result of his
17                   requesting and taking of a family medical leave (related to his serious health
18                   condition), his objection to the illegal practices and treatment, and for standing up
19                   for his right to not be subject to such unlawful conduct; and
20                c. Knowingly and wrongfully terminating ATEF’s employment (de facto) and
21                   refusing to hire/rehire him, in violation of the CFRA, which required PERNIX
22
                     GROUP to bring him back to the same or similar position and was otherwise
23
                     illegal since these illegal acts were for requesting and/or taking his family medical
24
                     leaves requesting other family medical leave, in furtherance of the unlawful
25
                     interference, discrimination, harassment and retaliation under the CFRA, for
26
                     objecting to the illegal conduct, and standing up for his rights under the CFRA
27
                     and his right not to be subject to such unlawful conduct;
28
            58.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal


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1    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
2    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
3    suffered, and continues to suffer, general and special damages for which he seeks the following
4    damages and remedies as set forth more fully in Paragraph 26 above:
5                  a. Damages sufficient to compensate Plaintiff for his injuries;
6                  b. Past loss of earnings, benefits, and interest;
7                  c. Future loss of earnings, benefits, and interest;
8                  d. Pre-judgment and post-judgment interest;
9                  e. Reasonable attorney's fees;
10                 f. Costs of this action;
11                 g. Injunctive relief;
12                 h. All damages and remedies allowed under the California Family Rights Act;
13                 i. Punitive damages and treble punitive damages;
14                 j. Emotional Distress Damages; and

15                 k. Any and all other damages and relief that this Honorable Court may deem just

16                    and equitable.

17
                                      SEVENTH COUNT
18                        ILLEGAL FAILURE AND REFUSAL TO PROVIDE
                         A TIMELY, GOOD FAITH, INTERACTIVE PROCESS
19                  [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
20           59.      Plaintiff ATEF repeats and realleges each and every allegation contained in
21   preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
22   set forth herein.
23           60.      Plaintiff is informed and believes, and thereon alleges, that Defendants PERNIX
24   GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
25   Plaintiff described herein, knew that it was an “unlawful employment practice” under
26   California Government Code, Section 12940(n), against the law and a disregard for Plaintiff’s
27   rights and the rights of others “for an employer or other entity covered by this part to fail to
28   engage in a timely, good faith, interactive process with the employee or applicant to determine


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1    effective reasonable accommodations, if any, in response to a request for reasonable
2    accommodation by an employee or applicant with a known physical or mental disability or
3    known medical condition.”
4           61.     Defendants PERNIX GROUP, and DOES 1-100, and each of them, at the time of
5    the wrongful conduct against Plaintiff described herein, knew or should have known, that in
6    addition to the mandatory 12-week leave required under the CFRA/FMLA as described herein,
7    and the much longer leave required as a reasonable accommodation under FEHA/ADA, that
8    Plaintiff’s right to a timely, good faith interactive process and to have his disability
9    accommodated under California Government Code, Section 12940(m) and (n) were separate
10   and distinct rights and included many potential “reasonable accommodations” of his disability
11   and/or perceived disability.
12          62.     Defendants PERNIX GROUP, and DOES 1-100, and each of them, with malice,
13   oppression, and fraud and in conscious disregard for Plaintiff ATEF’s rights under the law,
14   violated the Fair Employment and Housing Act by failing to provide a timely good faith
15   interactive process to find a reasonable accommodation for ATEF’s disability and/or perceived
16   disability. In fact, Defendants PERNIX GROUP, and DOES 1-100, and each of them, acted
17   untimely and in bad faith, and refused an interactive process, by refusing to interactively
18   communicate with ATEF about – and disregarding - ATEF’S medical conditions, medical
19
     restrictions, and the various alternative possible accommodations that would accommodate his
20
     disability including a leave for medical treatment, but most importantly when he was able to
21
     return to work a desk job with travel allowed. Instead of acting in good faith and interactively to
22
     try to find a reasonable accommodation, Defendant PERNIX GROUP (President/CEO ZAYED,
23
     President McSWEENEY, and HR Director WATSON) immediately talked about getting rid of
24
     ATEF, did not ask for an updated resume, gave him the cold shoulder, did not offer him any
25
     jobs, and, most importantly, lied about and concealed many open positions and lied about their
26
     purported attempts to find him a position. Plaintiff ATEF later learned that many outsiders and
27
     those inside the company (non-Disabled, non-Muslim, and non-Middle-Easterners) were given
28




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1    many jobs from January 2017 on that Defendant PERNIX GROUP lied about and concealed and
2    for which ATEF was more or equally qualified for.
3           63.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
4    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
5    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
6    suffered, and continues to suffer, general and special damages for which he seeks the following
7    damages and remedies as set forth more fully in Paragraph 26 above:
8                 a. Damages sufficient to compensate Plaintiff for his injuries;
9                 b. Past loss of earnings, benefits, and interest;
10                c. Future loss of earnings, benefits, and interest;
11                d. Pre-judgment and post-judgment interest;
12                e. Reasonable attorney's fees;
13                f. Costs of this action;
14                g. Injunctive relief;
15                h. All damages and remedies allowed under the California Fair Employment and
16                   Housing Act;
17                i. Punitive damages and treble punitive damages;
18                j. Emotional Distress Damages; and
19                k. Any and all other damages and relief that this Honorable Court may deem just
20                   and equitable.

21                                      EIGHTH COUNT
                               ILLEGAL FAILURE AND REFUSAL TO
22
                          PROVIDE A REASONABLE ACCOMMODATION
23                    [Against DEFENDANTS PERNIX GROUP, and DOES 1-100]

24
            64.      Plaintiff ATEF repeats and realleges each and every allegation contained in

25
     preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully

26
     set forth herein.

27          65.      Plaintiff is informed and believes, and thereon alleges, that Defendants PERNIX

28   GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against



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1    Plaintiff described herein, knew that it was an “unlawful employment practice” under
2    California Government Code, Section 12940(m), against the law and a disregard of Plaintiff’s
3    rights “for an employer or other entity covered by this part to fail to make reasonable
4    accommodation for the known physical or mental disability of an applicant or employee.”
5           66.       Plaintiff is informed and believes, and thereon alleges, that Defendants PERNIX
6    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
7    Plaintiff described herein, knew or should have known, that under California Government
8    Code, Section 12926(n), 2 Cal.C.Regs. Section 7293.9 (a) and relevant case law, employers,
9    who are aware of an employee’s disability or at least perceive a disability, have an “affirmative
10   duty” to make “reasonable accommodations” for that employee which include, but are not
11   limited to:
12                 a. A leave of absence [beyond the limits of time of those required under the
13                    California Family Rights Act and/or the Family Medical Leave Act];
14                 b. Job restructuring;
15                 c. Offering part-time or modified work schedules;
16                 d. Preferential consideration in the reassignment of existing employees, [including
17                    the transferring or termination of harassers];
18                 e. Reassignment to a vacant position;
19
                   f. Adjusting or modifying policies [including leave policies];
20
                   g. Other similar accommodations for individuals with disabilities; and
21
                   h. Transferring a harasser or otherwise stopping the harassment.
22
            67.       Defendants PERNIX GROUP, and DOES 1-100, and each of them, with malice,
23
     oppression, and fraud and in conscious disregard for Plaintiff ATEF’S rights under the law,
24
     violated the California Fair Employment and Housing Act by failing and refusing to provide a
25
     reasonable accommodation for ATEF’S disability and/or perceived disability. Instead of acting
26
     in good faith and providing a reasonable accommodation as required under state and federal law,
27
     Defendant PERNIX GROUP (President/CEO ZAYED, President McSWEENEY, and HR
28
     Director WATSON) immediately talked about getting rid of ATEF, did not ask for an updated


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1    resume, gave him the cold shoulder, did not offer him any jobs, and, most importantly, lied about
2    and concealed many open positions and lied about their purported attempts to find him a
3    position. Plaintiff ATEF later learned that many outsiders and those inside the company (non-
4    Disabled, non-Muslim, and non-Middle-Easterners) were given many jobs from January 2017 on
5    that Defendant PERNIX GROUP lied about and concealed and for which ATEF was more or
6    equally qualified for.
7           68.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
8    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
9    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
10   suffered, and continues to suffer, general and special damages for which he seeks the following
11   damages and remedies as set forth more fully in Paragraph 26 above:
12                a. Damages sufficient to compensate Plaintiff for his injuries;
13                b. Past loss of earnings, benefits, and interest;
14                c. Future loss of earnings, benefits, and interest;
15                d. Pre-judgment and post-judgment interest;
16                e. Reasonable attorney's fees;
17                f. Costs of this action;
18                g. Injunctive relief;
19                h. All damages and remedies allowed under the California Fair Employment and
20                   Housing Act;
21                i. Punitive damages and treble punitive damages;
22                j. Emotional Distress Damages; and

23                k. Any and all other damages and relief that this Honorable Court may deem just

24                   and equitable.

25
                                      NINTH COUNT
26            ILLEGAL HARASSMENT AND FAILING TO PROTECT FROM SUCH
                                 IN VIOLATION OF FEHA
27               [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100]
28          69.      Plaintiff ATEF repeats and re-alleges each and every allegation contained in the


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1    preceding paragraphs, inclusive, and incorporates them by reference as though fully set forth
2    herein.
3              70.   At all times material hereto, ATEF was an “employee” and/or “applicant” for
4
     employment (after his wrongful discharge) and was protected by California Government Code,
5
     Section 12940(j)(1), which prohibits harassment in employment on the basis of sex, gender,
6
     disability, perceived disability, association (with others based upon race, color, national origin,
7
     ancestry, disability, perceived disability, etc.), and other protected categories under California
8
     Government Code, Section 12940 et. seq.
9
               71.   At all times material hereto, Defendants PERNIX GROUP, and DOES 1-100, and
10
     each of them, were “employers” and/or “persons” within the meaning of California Government
11
     Code, Section 12940(j)(1), and, as such, were prohibited from harassing ATEF on the basis of
12
     disability, perceived disability, religion, national origin, ancestry, race, color, association (with
13
     others based upon race, color, national origin, ancestry, disability, perceived disability, and
14

15
     religion), and other protected categories, set forth in Government Code, Section 12940(a).

16
               72.   Under California Government Code, Section 12940(j), Defendants PERNIX

17
     GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against

18
     Plaintiff described herein, knew that: (1) It was an “unlawful employment practice,” against

19   the law and a disregard for Plaintiff’s rights “for an employer…or any other person, because of

20   race, religious creed, color, national origin, ancestry, physical disability, mental disability,

21   medical condition, genetic information, marital status, sex, gender, gender identity, gender

22   expression, age, sexual orientation, or military and veteran status,” and/or “association” with

23   such protected categories, to harass an employee or “person performing services pursuant to a

24   contract;” (2) An employer is strictly liable for the unlawful harassment by its supervisor; (3)

25   “Loss of tangible job benefits” was not “necessary in order to establish harassment;” (4) “An

26   employee… is personally liable for any harassment prohibited by this section that is

27   perpetrated by the employee, regardless of whether the employer or covered entity knows or

28   should have known of the conduct and fails to take immediate and appropriate corrective



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1    action;” (5) Under the law, just one slur by a “supervisor” unambiguously based upon a
2    protected category may suffice to constitute harassment: “"Perhaps no single act can more
3    quickly 'alter the conditions of employment and create an abusive working environment' ...
4    than the use of an [unambiguous] racial epithet ... by a supervisor in the presence of his
5    subordinates;" and (6) For purposes of liability under subsection (j) “‘Harassment’ because of
6    sex includes sexual harassment, gender harassment, and harassment based on pregnancy,
7    childbirth or related medical conditions.”
8           73.     The Fair Employment and Housing Act (California Government Code, Section
9    12940 et. Seq.) (FEHA) defines “disability” as anyone who has “any limitation” (not the
10   “substantial limitation” required by the ADA) on a “major life activity” which, of course,
11   includes “any limitation” on work. At different points in his active employment and while off
12   on disability leave as set forth above, Plaintiff ATEF had a “disability” and/or “perceived
13   disability” in that he had a limitation on his ability work. Unlike the ADA, FEHA does not
14   require any particular duration of time for a limitation on work to last before it will be
15   considered a “disability.”
16          74.     Under California Government Code, Section 12940(j), Defendants Defendant
17   PERNIX GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct
18   described herein, knew or should have known that pursuant to California Government Code,
19
     Section 12935(a), the Fair Employment and Housing Commission promulgated regulations to
20
     interpret and implement FEHA including a definition of “harassment” which “includes but is
21
     not limited to:”
22
                    a. Verbal harassment, e.g., epithets, derogatory comments or slurs on a basis
23
                        enumerated in the Act;
24
                    b. Physical harassment, e.g., assault, impeding or blocking movement, or any
25
                        physical interference with normal work or movement, when directed at an
26
                        individual on a basis enumerated in the Act;
27

28                  c. Visual forms of harassment, e.g., derogatory posters, cartoons, or drawings


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1                       on a basis enumerated in the Act; and/or
2
                    d. Sexual favors, e.g., unwanted sexual advances which condition an
3
                        employment benefit upon an exchange of sexual favors.”
4

5
            75.     Under California Government Code, Section 12940(j), Defendants PERNIX

6
     GROUP, and DOES 1-100, and each of them, at the time of the harassment, discrimination

7
     against, retaliation against, failure to protect from, aiding, abetting, inciting, coercing, and

8
     compelling from such, wrongful discharge (de-facto) of, and failure to rehire Plaintiff

9
     described herein based upon disability, perceived disability, religion, national origin, ancestry,

10   race, color, association (with others based upon race, color, national origin, ancestry, disability,

11   perceived disability, and religion), and other protected categories, knew or should have known

12   that the law has and had a broad and expansive view of what constitutes disability/perceived

13   disability/religion/racial/color/ancestry/national origin harassment, finding numerous other

14   comments and conduct to fall within the definition, when based upon disability, perceived

15   disability, religion, race, color, national origin, ancestry, association with such, and/or any

16   other protected categories, standing up for a person’s rights, and/or opposing illegal conduct

17   and/or comments.

18          76.      In addition, Defendants PERNIX GROUP, and DOES 1-100, and each of them,

19   knew and/or should have known that discriminatory “adverse employment actions” that support
20   a discrimination claim and/or retaliatory conduct may also be used to support a “harassment”
21   claim. Defendants PERNIX GROUP, and DOES 1-100, and each of them, knew and/or should
22   have known that “although an adverse employment action must materially affect the terms,
23
     conditions, or privileges of employment to be actionable, the determination of whether a
24
     particular action or course of conduct rises to the level of actionable conduct should take into
25
     account the unique circumstances of the affected employee as well as the workplace context of
26
     the claim.” In addition, Defendants PERNIX GROUP, and DOES 1-100, and each of them,
27
     knew and/or should have known that a cognizable “adverse employment action” (for purposes of
28
     discrimination and harassment) “… is not limited to adverse employment actions that impose an


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1    economic detriment or inflict a tangible psychological injury upon an employee” and “the phrase
2    ‘terms, conditions, or privileges’ of employment must be interpreted liberally and with a
3    reasonable appreciation of the realities of the workplace in order to afford employees the
4
     appropriate and generous protection against employment discrimination that the FEHA was
5
     intended to provide.” Furthermore, Defendants PERNIX GROUP, and DOES 1-100, and each
6
     of them, knew and/or should have known that such “adverse actions,” included “actions other
7
     than discharge,” including, but are not limited to, “employer actions such as demotions,”
8
     “disadvantageous transfers or assignments,” “refusals to promote,” “unwarranted negative job
9
     evaluations,” “toleration of harassment by other employees,” “coworker hostility or retaliatory
10
     harassment…,” “an employer’s solicitation of negative comments by coworkers,” a
11
     “suspension,” requiring “…an employee ... to ‘go through several hoops’ in order to obtain …
12
     benefits,” “transfers of job duties,” and “undeserved performance ratings.” Plaintiff is informed
13
     and believes and thereon alleges that harassing actions and “adverse employment actions,”
14

15
     additionally include, but are not limited to, similar conduct and words, including, but not limited

16   to, intentionally refusing to provide a timely, good faith, interactive process, intentionally

17   refusing to provide a reasonable accommodation, and/or knowingly and/or recklessly subjecting

18   an employee to offensive conduct, offensive language, unsafe working conditions, physical

19   injury and/or severe emotional distress.
20          77.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
21   GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
22   described herein, knew (and/or at least should have known) that, under California Government
23   Code, Section 12940(h), it was an “unlawful employment practice,” against the law and a
24   disregard for ATEF’s rights (and the rights of others), for each and/or all of them, “to discharge,
25   expel, or otherwise discriminate against any person because the person has opposed any practices
26   forbidden under this part or because the person has filed a complaint, testified, or assisted in any
27   proceeding under this part.”
28          78.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX


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1    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
2    described herein, knew (and/or at least should have known) that, under California Government
3    Code, Section 12940(i), it was an “unlawful employment practice,” against the law and a
4    disregard for ATEF’s rights (and the rights of others), “for any person to aid, abet, incite,
5    compel, or coerce the doing of any of the acts forbidden under this part, or to attempt to do so.”
6           79.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
7    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
8    (and others), knew (and/or at least should have known) that, under California Government Code,
9    Section 12940(k), that it was an “unlawful employment practice,” against the law and a disregard
10   for ATEF’s rights (and the rights of others), “for an employer… to fail to take all reasonable
11   steps necessary to prevent discrimination and harassment from occurring.”
12          80.     Plaintiff is informed and believes, and thereon alleges, that most of those who
13
     conducted the illegal harassment, discrimination, and retaliation were Plaintiff’s “supervisors” in
14
     that CEO/President ZAYED, President McSWEENEY, and HR Director WATSON, in the
15
     interest of their employer, Defendant PERNIX GROUP, had the authority and/or discretion to
16
     hire, transfer, suspend, lay off, recall, promote, discharge, assign, reward, or discipline other
17
     employees, or the responsibility to direct them, or to adjust their grievances, or effectively to
18
     recommend that action….” As such, Defendants PERNIX GROUP and DOES 1-100, and each
19
     of them, are strictly liable for the harassing conduct and comments of CEO/President ZAYED,
20
     President McSWEENEY, and HR Director WATSON.
21
            81.     Defendant PERNIX GROUP, and DOES 1-100, and each of them, with malice,
22
     oppression, and fraud and in conscious disregard for Plaintiff ATEF’s rights (and the rights of
23
     others) under the law, illegally harassed and aided, abetted, incited, coerced, and compelled
24
     such illegal action against ATEF (and others) in violation of FEHA by the harassing acts and
25
     comments set forth throughout this Complaint based on his disability, perceived disability,
26
     religion, national origin, ancestry, color, ancestry, and association (with others based upon
27
     race, color, ancestry, national origin, disability, perceived disability, religion, etc.), standing up
28




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1    for his rights under FEHA, opposing illegal conduct in violation of FEHA, and other protected
2    categories as set forth throughout this complaint:
3           82.      Defendant PERNIX GROUP, and DOES 1-100, and each of them, as set forth
4    above, inspite of the actual and/or constructive knowledge of its’ supervisors and agents of the
5    harassment, discrimination, and retaliation, also failed to take immediate and appropriate
6    corrective action to stop the harassment, discrimination, and retaliation.
7           83.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
8    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
9    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
10   suffered, and continues to suffer, general and special damages for which he seeks the following
11   damages and remedies as set forth more fully in Paragraph 26 above:
12                a. Damages sufficient to compensate Plaintiff for his injuries;
13                b. Past loss of earnings, benefits, and interest;
14                c. Future loss of earnings, benefits, and interest;
15                d. Pre-judgment and post-judgment interest;
16                e. Reasonable attorney's fees;
17                f. Costs of this action;
18                g. Injunctive relief;
19                h. All damages and remedies allowed under the California Fair Employment and
20                   Housing Act;
21                i. Punitive damages and treble punitive damages;
22                j. Emotional Distress Damages; and
23                k. Any and all other damages and relief that this Honorable Court may deem just
24                   and equitable.
                                   TENTH COUNT
25
           ILLEGAL DISCRIMINATION AND FAILING TO PROTECT FROM SUCH
26                             IN VIOLATION OF FEHA
                 [against DEFENDANTS PERNIX GROUP, and DOES 1-100]
27
            84.      Plaintiff ATEF repeats and re-alleges each and every allegation contained in
28




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1    preceding paragraphs, inclusive, and incorporates them by reference as though fully set forth
2    herein.
3              85.   At all relevant times until he was discharged (de-facto), Plaintiff ATEF was an
4
     employee and, after Defendants’ wrongful discharge of him, an applicant for employment
5
     thereby protected by California Government Code, Section 12940(a), which prohibits
6
     discrimination in employment on the basis of the protected categories described above and
7
     below.
8
               86.   At all relevant times, Defendant PERNIX GROUP, and DOES 1-100, and each of
9
     them, were “employers” within the meaning of California Government Code, Section 12926, and
10
     as such, were prohibited from discriminating against ATEF and others in regard to terms,
11
     conditions, or privileges of employment, including all adverse employment actions on the basis
12
     of the protected categories described above and below.
13
               87.   Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
14
     GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
15
     Plaintiff described herein, knew that it was an “unlawful employment practice” under
16
     California Government Code section 12940(a), against the law and a disregard for Plaintiff’s
17
     rights, “for an employer…or any other person, because of race, religious creed, color, national
18
     origin, ancestry, physical disability, mental disability, medical condition, genetic information,
19
     marital status, sex, gender, gender identity, gender expression, age, sexual orientation, or military
20
     and veteran status,” and/or “association” with such protected categories, to:
21

22                   a. “… [R]efuse to hire or employ the person or to refuse to select the person

23                      for a training program leading to employment;” or

24
                     b. “… [B]ar or to discharge the person from employment or from a training
25
                        program leading to employment, or
26
                     c. “… [D]iscriminate against the person in compensation or in terms,
27
                        conditions, or privileges of employment.”
28




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1           88.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
2    GROUP, and DOES 1-100, and each of them, knew and/or should have known that “although an
3    adverse employment action must materially affect the terms, conditions, or privileges of
4    employment to be actionable, the determination of whether a particular action or course of
5    conduct rises to the level of actionable conduct should take into account the unique
6    circumstances of the affected employee as well as the workplace context of the claim.”
7    Moreover, Defendant PERNIX GROUP, and DOES 1-100, and each of them, knew and/or
8    should have known that a cognizable “adverse employment action” “… is not limited to adverse
9    employment actions that impose an economic detriment or inflict a tangible psychological injury
10   upon an employee” and “the phrase ‘terms, conditions, or privileges’ of employment must be
11   interpreted liberally and with a reasonable appreciation of the realities of the workplace in order
12   to afford employees the appropriate and generous protection against employment discrimination
13   that the FEHA was intended to provide.” Furthermore, Defendant PERNIX GROUP, and
14   DOES 1-100, and each of them, knew and/or should have known that such “adverse actions,”
15   included “actions other than discharge,” including, but are not limited to, “employer actions such
16   as demotions,” “disadvantageous transfers or assignments,” “refusals to promote,” “unwarranted
17   negative job evaluations,” “toleration of harassment by other employees,” “coworker hostility or
18   retaliatory harassment…,” “an employer’s solicitation of negative comments by coworkers,” a
19
     “one-day suspension,” requiring “…an employee *** to ‘go through several hoops’ in order to
20
     obtain … benefits,” “transfers of job duties,” “undeserved performance ratings.”            Finally,
21
     Plaintiff is informed and believes and thereon alleges that harassing actions and “adverse
22
     employment actions,” additionally include, but are not limited to, similar conduct and words,
23
     refusing to provide a timely, good faith, interactive process for an employee’s disability, refusing
24
     to provide a reasonable accommodation for an employee’s disability, forcing an employee to
25
     work against his restrictions, knowingly and/or recklessly subjecting an employee to offensive
26
     conduct, offensive language, unsafe working conditions, physical injury and/or emotional
27
     distress, discharging an employee, and/or refusing to rehire an employee whose employment was
28
     terminated wrongfully.


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1           89.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
2    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
3    ATEF described herein, knew (and/or at least should have known) that, under California
4    Government Code section 12940(i) it was an “unlawful employment practice,” against the law
5    and a disregard for ATEF’s rights (and the rights of others) “for any person to aid, abet, incite,
6    compel, or coerce the doing of any of the acts forbidden under this part, or to attempt to do so.”
7           90.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
8    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
9    described herein, knew (and/or at least should have known) that it was an “unlawful employment
10   practice” under Government Code, Section 12940(h), against the law and a disregard for ATEF’s
11   rights (and the rights of others), for each and/or all of them, “to discharge, expel, or otherwise
12   discriminate against any person because the person has opposed any practices forbidden under
13   this part or because the person has filed a complaint, testified, or assisted in any proceeding
14   under this part.”
15          91.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
16   GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
17   Plaintiff described herein, knew that it was an “unlawful employment practice” under
18   California Government Code, Section 12940(k), against the law, and a disregard for Plaintiff’s
19
     rights “for an employer… to fail to take all reasonable steps necessary to prevent
20
     discrimination and harassment from occurring.”
21
            92.     Defendants PERNIX GROUP, and DOES 1-100, and each of them, discriminated
22
     against ATEF by the adverse actions set forth throughout this Complaint based upon his
23
     disability, perceived disability, religion, national origin, ancestry, race, color, and association
24
     with others from protected categories (including, but not necessarily limited to, race, color,
25
     ancestry, national origin, disability, perceived disability, sex, gender, etc.), standing for his
26
     rights and the rights of others under FEHA, opposing illegal conduct in violation of FEHA, and
27
     other protected categories as set forth throughout this complaint.
28




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1           93.      Despite the actual and/or constructive knowledge of its’ supervisors and agents of
2    the above-mentioned harassment, discrimination, and retaliation, Defendants PERNIX GROUP,
3    and DOES 1-100, and each of them, failed to take immediate and appropriate corrective action to
4
     stop the harassment, discrimination, and retaliation.
5
            94.      As a result of the malicious, oppressive, fraudulent, despicable, and illegal
6
     policies, practices, acts and omissions (set forth throughout this Complaint and including, but
7
     not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
8
     suffered, and continues to suffer, general and special damages for which he seeks the following
9
     damages and remedies as set forth more fully in Paragraph 26 above:
10
                  a. Damages sufficient to compensate Plaintiff for his injuries;
11
                  b. Past loss of earnings, benefits, and interest;
12
                  c. Future loss of earnings, benefits, and interest;
13
                  d. Pre-judgment and post-judgment interest;
14
                  e. Reasonable attorney's fees;
15
                  f. Costs of this action;
16
                  g. Injunctive relief;
17                h. All damages and remedies allowed under the California Fair Employment and
18                   Housing Act;
19                i. Punitive damages and treble punitive damages;
20                j. Emotional Distress Damages; and
21                k. Any and all other damages and relief that this Honorable Court may deem just
22                   and equitable.
23

24
                                  ELEVENTH COUNT
25            ILLEGAL RETALIATION AND FAILING TO PROTECT FROM SUCH
                   [Against DEFENDANTS PERNIX GROUP and DOES 1-100]
26
            95.      Plaintiff ATEF repeats and re-alleges each and every allegation contained in
27
     preceding paragraphs, inclusive, and incorporates them by reference as though fully set forth
28




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1    herein.
2              96.   Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
3    GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
4    described herein, knew (and/or at least should have known) that it was an “unlawful employment
5    practice” under California Government Code, Section 12940(h), against the law and a disregard
6    for ATEF’s rights (and the rights of others), for each and/or all of them, “to discharge, expel, or
7    otherwise discriminate against any person because the person has opposed any practices
8    forbidden under this part or because the person has filed a complaint, testified, or assisted in any
9    proceeding under this part.”
10             97.   At all relevant times, Plaintiff ATEF was an employee, protected by FEHA
11   (California Government Code sections 12940 et seq), which prohibited retaliation, failing to
12   protect from, and aiding, abetting, inciting, coercing, and compelling such against Plaintiff and
13   others for standing up for their rights and the right of others under FEHA and/or for opposing
14   and/or complaining and/or refusing to participate in illegal actions in violation of FEHA.
15
               98.   For purposes of the causes of action based upon illegal retaliation and/or wrongful
16
     termination of employment, the California Supreme Court has made it clear that an employer
17
     may be held liable for retaliation where an employee opposes or complains about harassment,
18
     discrimination and/or other illegal activity and is subject to further wrongful conduct because of
19
     the complaint or opposition. An employee who complains about “unfairness,” “favoritism” or
20
     other harassing conduct does not have to articulate the specific legal theory (e.g., sexual
21
     harassment, racial discrimination or any other recognized area of unlawful harassment) to lodge
22
     a complaint and implicate protection from retaliation. Moreover, under the law, an employee
23
     does not need to use “legal terms or buzzwords” when opposing discrimination to fall within the
24
     protection against retaliation since “inartful, subtle, or circumspect remarks nevertheless may be
25
     perfectly clear to the employer.” An employee may prevail on the retaliation claim even without
26
     proving the underlying violation of law as long as the plaintiff, when objecting, had a good faith
27
     belief that the conduct was illegal conduct. In addition to FEHA and the other laws set forth
28
     above, plaintiff suffered further harassment, discrimination and retaliation (including the de facto


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1    termination of his employment) when he opposed conduct that he believed in good faith to
2    constitute illegal conduct.
3           99.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
4    GROUP and DOES 1-100, and each of them, at the time of the wrongful conduct against ATEF
5    described herein, knew (and/or at least should have known) that, under California Government
6    Code section 12940(i) it was an “unlawful employment practice,” against the law and a disregard
7    for ATEF’s rights (and the rights of others) “for any person to aid, abet, incite, compel, or coerce
8    the doing of any of the acts forbidden under this part, or to attempt to do so.”
9           100.    Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
10   GROUP, and DOES 1-100, and each of them, at the time of the wrongful conduct against
11   Plaintiff described herein, knew that it was an “unlawful employment practice” under California
12   Government Code, Section 12940(k), against the law, and a disregard for Plaintiff’s rights “for
13   an employer… to fail to take all reasonable steps necessary to prevent discrimination and
14   harassment from occurring.”
15
            101.     Defendants PERNIX GROUP, and DOES 1-100, and each of them, retaliated
16
     against ATEF as set forth above and throughout this Complaint based on his disability, perceived
17
     disability, religion, race, color, ancestry, national origin, association (with others based upon
18
     disability, perceived disability, religion, race, color, ancestry, national origin, etc.), standing
19
     for his rights and the rights of others under FEHA, opposing illegal conduct in violation of
20
     FEHA, and other protected categories as set forth throughout this complaint.
21
            102.    Despite the actual and/or constructive knowledge of its’ supervisors and agents of
22
     the above-mentioned harassment, discrimination, and retaliation, Defendants PERNIX GROUP,
23
     and DOES 1-100, and each of them, failed to take immediate and appropriate corrective action to
24
     stop the harassment, discrimination, and retaliation.
25
            103.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
26
     policies, practices, acts and omissions (set forth throughout this Complaint and including, but
27
     not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
28




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1    suffered, and continues to suffer, general and special damages for which he seeks the following
2    damages and remedies as set forth more fully in Paragraph 26 above:
3                a. Damages sufficient to compensate Plaintiff for his injuries;
4                b. Past loss of earnings, benefits, and interest;
5                c. Future loss of earnings, benefits, and interest;
6                d. Pre-judgment and post-judgment interest;
7                e. Reasonable attorney's fees;
8                f. Costs of this action;
9                g. Injunctive relief;
10               h. All damages and remedies allowed under the California Fair Employment and

11                   Housing Act;

12               i. Punitive damages and treble punitive damages;

13               j. Emotional Distress Damages; and

14               k. Any and all other damages and relief that this Honorable Court may deem just

15                   and equitable.

16                                   TWELFTH COUNT
17
                                WHISTLEBLOWER PROTECTION
                         UNDER LABOR CODE, SECTION 6310 AND 6400
18                   [Against DEFENDANTS PERNIX GROUP, and DOES 1-100]
19           104.    Plaintiff ATEF repeats and realleges each and every allegation contained in

20   preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully

21   set forth herein.

22           105.    Plaintiff was an employee of Defendants PERNIX GROUP and Does 1-100.
23           106.    Under California Labor Code, Section 6400:
24                   a. “Every employer shall furnish employment and a place of employment that is
25                       safe and healthful for the employees therein;”
26                   b. “On multiemployer worksites, both construction and nonconstruction,
27                       citations may be issued only to the following categories of employers when
28




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1                the division has evidence that an employee was exposed to a hazard in
2                violation of any requirement enforceable by the division:”
3                i. “(1) The employer whose employees were exposed to the hazard (the
4                   exposing employer).”
5                ii. “(2) The employer who actually created the hazard (the creating
6                   employer).”
7               iii. “(3) The employer who was responsible, by contract or through actual
8                   practice, for safety and health conditions on the worksite, which is the
9                   employer who had the authority for ensuring that the hazardous
10                  condition is corrected (the controlling employer).
11              iv. “(4) The employer who had the responsibility for actually correcting the
12                  hazard (the correcting employer).”
13               v. “The employers listed in paragraphs (2) to (4), inclusive, of this
14                  subdivision may be cited regardless of whether their own employees
15                  were exposed to the hazard.”
16   107.     Under California Labor Code, Section 6310:
17            a. “No person shall discharge or in any manner discriminate against any
18               employee because the employee has done any of the following:”
19
                 i. “Made any oral or written complaint to the division, other
20
                    governmental agencies having statutory responsibility for or assisting the
21
                    division with reference to employee safety or health, his or her employer,
22
                    or his or her representative.”
23
              b. “Any employee who is discharged, threatened with discharge, demoted,
24
                 suspended, or in any other manner discriminated against in the terms and
25
                 conditions of employment by his or her employer because the employee has
26
                 made a bona fide oral or written complaint to ...his or her employer, or his or
27
                 her representative, of unsafe working conditions, or work practices, in his or
28
                 her employment or place of employment, or has participated in an employer-


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1                       employee occupational health and safety committee, shall be entitled to
2                       reinstatement and reimbursement for lost wages and work benefits caused by
3                       the acts of the employer.”
4             108.   Plaintiff, on his own behalf and on behalf of others, exercised his right and the
5    rights of other employees to workplace health and safety and also made complaints to his
6    employer, Defendant PERNIX GROUP, concerning such health and safety issues as set forth
7    above.
8             109.   Plaintiff’s exercise of his right and the rights of other employees to workplace
9    health and safety and complaints to his employer, Defendant PERNIX GROUP, about health
10   and safety issues were a substantial motivating reason for Defendant PERNIX GROUP’s
11   decision to refuse to provide a timely, good faith interactive process, to refuse to provide a
12   reasonable accommodation, and to harass, discriminate against, retaliate against, wrongfully
13   discharge (de facto), and refuse to hire/rehire plaintiff.
14            110.   As a result of the malicious, oppressive, fraudulent, despicable, and illegal
15   policies, practices, acts and omissions (set forth throughout this Complaint and including, but
16   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
17   suffered, and continues to suffer, general and special damages for which he seeks the following
18   damages and remedies as set forth more fully in Paragraph 26 above:
19               a. Damages sufficient to compensate Plaintiff for his injuries;
20               b. Past loss of earnings, benefits, and interest;
21               c. Future loss of earnings, benefits, and interest;
22               d. Pre-judgment and post-judgment interest;
23               e. Reasonable attorney's fees;
24               f. Costs of this action;
25               g. Injunctive relief;
26               h. All damages and remedies allowed under California Labor Code, Section 6310
27                   and 6400;
28               i. Punitive damages and treble punitive damages;


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1                j. Emotional Distress Damages; and
2                k. Any and all other damages and relief that this Honorable Court may deem just
3                    and equitable.
4
                                        THIRTEENTH COUNT
5                                   WHISTLEBLOWER PROTECTION
                             UNDER THE CALIFORNIA FALSE CLAIMS ACT
6                        [against DEFENDANTS PERNIX GROUP, and DOES 1-100]
7
             111.    Plaintiff ATEF repeats and realleges each and every allegation contained in
8
     preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
9
     set forth herein.
10
             112.    Plaintiff was an employee of Defendant PERNIX GROUP and Does 1-100.
11
             113.    Under California Government Code, Section 12653(a), “any employee” shall be
12
     “entitled to all relief necessary to make that employee…whole” if that employee is
13
     “discharged, demoted, suspended, threatened, harassed, or in any other manner discriminated
14
     against in the terms and conditions of his or her employment because of the lawful acts done
15
     by the employee… or associated others in furtherance of an action under this section or other
16
     efforts to stop one or more violations…” of the California False Claims Act.
17
             114.    Under California Government Code, Section 12655(a) and (c), “the provisions
18
     of this article are not exclusive, and the remedies provided for in this article shall be in addition
19

20
     to any other remedies provided for in any other law or available under common law” and “this

21
     article shall be liberally construed and applied to promote the public interest.” In addition,

22
     California courts have added to emphasize and provide further clarity to this point: “[A]s a

23
     statute obviously designed to prevent fraud on the public treasury, [California Government

24
     Code] section 12653 plainly should be given the broadest possible construction consistent with

25   that purpose.” Furthermore, California courts have provided an expansive definition of what is

26   protected activity under Section 12653: “[T]he Act’s retaliation provision applies not only to

27   qui tam actions but to false claims in general. Section 12653 makes it unlawful for an employer

28   to retaliate against an employee who is engaged ‘in furthering a false claims action, including



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1    investigation for, initiation of, testimony for, or assistance in, an action ﬁled or to be ﬁled
2    under Section 12652.’”
3           115.   Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
4    GROUP has defrauded various governmental entities out of hundreds of millions of dollars by
5    submitting false and/or fraudulent claims to these governmental entities for payment based
6    upon PERNIX GROUP’s express and implied certifications on many occasions by its owners,
7    officers, and/or “managing agents” (including CEO/President ZAYED and President
8    McSWEENEY) to federal, state and/or local governmental entities that Defendant PERNIX
9    GROUP complies, and will comply, with all employment laws and health safety laws, specific
10   employment laws and health and safety laws, and that it has specific procedures ensuring
11   compliance with such laws and contractual provisions regarding such as set forth more fully
12   above. In fact, Defendant PERNIX GROUP and its owners, officers, and managing agents
13   (including CEO/President ZAYED and President McSWEENEY) knowingly violate such laws
14   as set forth throughout this Complaint to the detriment of Plaintiff and many other employees,
15   violating their rights, and making false certifications and false claims to the federal, state,
16   and/or local governments.
17          116.   Plaintiff stood up against and tried to stop Defendant PERNIX GROUP’s false
18   certifications and false claims against governmental entities as it concerned lies emanating
19
     from the highest levels of the company concerning compliance with all of the laws set forth
20
     above and specific promises and certifications regarding procedures and compliance.          In
21
     addition, Plaintiff investigated these false certifications and false governmental claims
22
     (investigating the illegal policies, practices, and conduct making the implied and expressed
23
     certifications false) by Defendant PERNIX GROUP in furtherance of a potential and/or actual
24
     false claim action against Defendant PERNIX GROUP. Plaintiff investigated, objected to and
25
     tried to stop the illegal employment actions and practices and the unsafe practices by the same
26
     officers, directors, and managing agents (including CEO/President ZAYED and President
27
     McSWEENEY) that damaged ATEF and others and the false certification and false claims
28
     based upon lying about compliance with these laws and false certifications. Even after these


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1    continued objections to the illegal conduct, Defendant PERNIX GROUP continued to further
2    harass, discriminate and retaliate against plaintiff, continued to refuse to provide a timely, good
3    faith interactive process, continued to refuse to provide a reasonable accommodation,
4    wrongfully discharged plaintiff (de facto), refused to hire/rehire plaintiff, and other illegal
5    misconduct as described through this Complaint.
6           117.    Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
7    GROUP’s harassment, discrimination, retaliation, threats, initial and continuing refusal to
8    provide a timely, good faith interactive process, initial and continuing refusal to provide a
9    reasonable accommodation, wrongful discharge, refusal to rehire plaintiff, initial and continued
10   harassment, discrimination, and retaliation and other wrongful conduct were substantially
11   motivated by Plaintiff’s investigation, objection to, and attempts to stop one or more of
12   PERNIX GROUP’s illegal acts and/or omissions, false certifications, and false claims and
13   plaintiff’s acts (and/or the acts of “associated” others) in furtherance of a potential and/or
14   actual action for False Government Claims.
15          118.    Plaintiff’s protected conduct was meant to stop the false claims and/or was in
16   furtherance of a false claims action to potentially be brought by Plaintiff (and/or others). In
17   addition, Plaintiff, at a minimum, had a reasonable suspicion that Defendant PERNIX
18   GROUP’s conduct constituted false claims and/or possible grounds for a potential false claims
19
     action. In addition, whatever has been filed and/or will be filed in the future, it was reasonably
20
     possible for Plaintiff’s conduct to lead to a false claims action against Defendant PERNIX
21
     GROUP. Whether or not a false claims action is actually brought after the filing of this action
22
     (or was brought before under seal as required by law) by Plaintiff against Defendant PERNIX
23
     GROUP and whether the merit of such an action is determined in that matter, Plaintiff had a
24
     genuine and reasonable concern that governmental entities were being defrauded (and Plaintiff
25
     and other employees were being damaged) in light of the requirement under California law and
26
     federal law that Defendant PERNIX GROUP certify, as contractual requirements, compliance
27
     with many laws (including anti-discrimination and safety laws) in every contract entered into
28
     with any governmental entity as set forth above.


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1            119.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
2    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
3    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
4    suffered, and continues to suffer, general and special damages for which he seeks the following
5    damages and remedies as set forth more fully in Paragraph 26 above:
6                a. Damages sufficient to compensate Plaintiff for his injuries;
7                b. Double past loss of earnings, benefits, and interest;
8                c. Future loss of earnings, benefits, and interest;
9                d. Pre-judgment and post-judgment interest;
10               e. Reasonable attorney's fees;
11               f. Costs of this action;
12               g. Injunctive relief;
13               h. All damages and remedies allowed under the Whistle-Blower Retaliation
14                   Protection of the California False Claims Act;
15               i. Punitive damages and treble punitive damages;
16               j. Emotional Distress Damages; and

17               k. Any and all other damages and relief that this Honorable Court may deem just

18                   and equitable.

19
                                        FOURTEENTH COUNT
20                                  WHISTLEBLOWER PROTECTION
                          UNDER CALIFORNIA LABOR CODE, SECTION 1102.5
21                       [Against DEFENDANTS PERNIX GROUP, and DOES 1-100]
22           120.    Plaintiff ATEF repeats and realleges each and every allegation contained in
23   preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
24   set forth herein.
25           121.    Plaintiff is an employee of Defendant PERNIX GROUP and Does 1-100.
26           122.    Under California Labor Code, Section 1102.5:
27                   a. “(a) An employer, or any person acting on behalf of the employer, shall not
28                       make, adopt, or enforce any rule, regulation, or policy preventing an


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1                employee from disclosing information to a government or law enforcement
2                agency, to a person with authority over the employee, or to another
3                employee who has authority to investigate, discover, or correct the violation
4                or noncompliance, or from providing information to, or testifying before,
5                any public body conducting an investigation, hearing, or inquiry, if the
6                employee has reasonable cause to believe that the information discloses a
7                violation of state or federal statute, or a violation of or noncompliance with a
8                local, state, or federal rule or regulation, regardless of whether disclosing the
9                information is part of the employee's job duties.
10            b. “(b) An employer, or any person acting on behalf of the employer, shall not
11               retaliate against an employee for disclosing information, or because the
12               employer believes that the employee disclosed or may disclose information,
13               to a government or law enforcement agency, to a person with authority over
14               the employee or another employee who has the authority to investigate,
15               discover, or correct the violation or noncompliance, or for providing
16               information to, or testifying before, any public body conducting an
17               investigation, hearing, or inquiry, if the employee has reasonable cause to
18               believe that the information discloses a violation of state or federal statute,
19
                 or a violation of or noncompliance with a local, state, or federal rule or
20
                 regulation, regardless of whether disclosing the information is part of the
21
                 employee's job duties.
22
              c. “(c) An employer, or any person acting on behalf of the employer, shall not
23
                 retaliate against an employee for refusing to participate in an activity that
24
                 would result in a violation of state or federal statute, or a violation of or
25
                 noncompliance with a local, state, or federal rule or regulation.
26
              d. “(d) An employer, or any person acting on behalf of the employer, shall not
27
                 retaliate against an employee for having exercised his or her rights under
28
                 subdivision (a), (b), or (c) in any former employment.


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1           123.    Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
2    GROUP and DOES 1-100 believed that Plaintiff had disclosed and/or might disclose to a
3    government agency, law enforcement agency, person with authority over Plaintiff, and/or an
4    employee (with authority to investigate, discover, or correct legal violations and/or
5    noncompliance) concerning violations of all the laws set forth above.
6           124.    Plaintiff, though a lay person, had reasonable cause to believe that Plaintiff’s
7    participation in the illegal conduct would violate the following laws and had reasonable cause
8    to believe that his information disclosed a violation of and/or noncompliance with state and/or
9    federal statutes and/or a violation of and/or noncompliance with a local and/or state and/or
10   federal rules and/or regulations, including, but not limited to, the following:
11                  a. Family Medical Leave Act (sometimes “FMLA”), 29 USC § 2601 et seq.
12                      (requiring allowance of up to a 12-week leave, guaranteed return to the same
13                      or similar position upon completion of the leave, no interference with the
14                      leave, and prohibiting harassment, discrimination, and/or retaliation based
15                      upon requesting, taking, and/or being entitled to such a leave);
16                  b. Title I of the Americans with Disabilities Act (sometimes "ADA")(42 U.S.C.
17                      §§ 12101 et seq.) and the Rehabilitation Act of 1973 (29 U.S.C. § 701 et
18                      seq.) (requiring a timely, good faith, interactive process to find and to
19                      provide a reasonable and ongoing accommodation and prohibiting illegal
20                      harassment, discrimination, and/or retaliation based upon disability and/or
21                      perceived disability (being “regarded” as disabled);
22                  c. Title VII of the Civil Rights Act of 1964 (sometimes " Title VII"), 42 U.S.C.
23                      § 2000e et seq. (prohibiting, as set forth above, illegal harassment,
24
                        discrimination, and/or retaliation)
25
                    d. 42 U.S.C. § 1981 (prohibiting, as set forth above, illegal harassment,
26
                        discrimination, and/or retaliation);
27
                    e. United States False Claims Act (31 U.S. Code § 3729 et. Seq.) (prohibiting
28
                        harassment, discrimination, and retaliation for investigating and/or trying to


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1                       stop false governmental claims and/or otherwise in furtherance of an actual
2                       or potential False Claims action);
3                   f. The Fair Employment and Housing Act (California Government Code,
4                       Section 12940 et. Seq.)(requiring a timely, good faith, interactive process
5                       and reasonable accommodation to disabled employees and/or applicants for
6                       employment and prohibiting illegal harassment, discrimination, and
7                       retaliation, based upon the protected categories set forth above;
8                   g. California Family Rights Act (“CFRA”- California Government Code,
9                       Section 12945.2)(requiring notice of certain rights to be posted and included
10                      in correspondence, allowance of up to a 12-week leave, guaranteed return to
11                      the same or similar position upon completion of the leave, no interference
12                      with the leave, and prohibiting harassment, discrimination, and/or retaliation
13                      based upon requesting, taking, and/or being entitled to such a leave);
14                  h. California False Claims Act (California Government Code, Section 12650 et.
15                      Seq.)    (prohibiting    harassment,      discrimination,   and   retaliation   for
16                      investigating and/or trying to stop false governmental claims and/or
17                      otherwise in furtherance of an actual or potential False Claims action);
18                  i. California Labor Code, Section 6310 and 6400 (prohibiting harassment,
19
                        discrimination, and retaliation against those who oppose unsafe and
20
                        unhealthy work environments); and
21
                    j. Other similar laws.
22
            125.    Plaintiff’s standing up for his rights under the above laws and his opposition to
23
     the illegal policies and practices (or those policies and practices in which he in good faith
24
     believed to be illegal) under the above referenced laws was a contributing factor in Defendant
25
     PERNIX GROUPS’s and DOES 1-100’s decision to refuse to provide a timely, good faith
26
     interactive process, to refuse to provide a reasonable accommodation, and to harass,
27
     discriminate against, retaliate against, wrongfully discharge (de facto), refuse to hire/rehire
28
     Plaintiff, and the other illegal conduct set forth herein.


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1            126.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
2    policies, practices, acts and omissions (set forth throughout this Complaint and including, but
3    not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
4    suffered, and continues to suffer, general and special damages for which he seeks the following
5    damages and remedies as set forth more fully in Paragraph 26 above:
6                a. Damages sufficient to compensate Plaintiff for his injuries;
7                b. Past loss of earnings, benefits, and interest;
8                c. Future loss of earnings, benefits, and interest;
9                d. Pre-judgment and post-judgment interest;
10               e. Reasonable attorney's fees;
11               f. Costs of this action;
12               g. Injunctive relief;
13               h. All damages and remedies allowed under California Labor Code, Section 6310
14                   and 6400;
15               i. Punitive damages and treble punitive damages;
16               j. Emotional Distress Damages; and

17               k. Any and all other damages and relief that this Honorable Court may deem just

18                   and equitable.
                                        FIFTEENTH COUNT
19
                             WRONGFUL ADVERSE EMPLOYMENT ACTION
20                                 IN VIOLATION OF PUBLIC POLICY
                         [Against DEFENDANTS PERNIX GROUP, and DOES 1-100]
21
             127.    Plaintiff ATEF repeats and realleges each and every allegation contained in
22
     preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
23
     set forth herein.
24
             128.    California has consistently recognized several fundamental and long-standing
25
     public policies as embodied in the following statutes:
26
                     a. Family Medical Leave Act (sometimes “FMLA”), 29 USC § 2601 et seq.
27
                         (requiring allowance of up to a 12-week leave, guaranteed return to the same
28
                         or similar position upon completion of the leave, no interference with the


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1                leave, and prohibiting harassment, discrimination, and/or retaliation based
2                upon requesting, taking, and/or being entitled to such a leave);
3             b. Title I of the Americans with Disabilities Act (sometimes "ADA"), 42
4                U.S.C. §§ 12101 et seq. and the Rehabilitation Act of 1973 (29 U.S.C. § 701
5                et seq.) (requiring a timely, good faith, interactive process to find and to
6                provide a reasonable and ongoing accommodation and prohibiting illegal
7                harassment, discrimination, and/or retaliation based upon disability and/or
8                perceived disability (being “regarded” as disabled);
9             c. Title VII of the Civil Rights Act of 1964 (sometimes " Title VII"), 42 U.S.C.
10               § 2000e et seq. (prohibiting, as set forth above, illegal harassment,
11               discrimination, and/or retaliation)
12            d. 42 U.S.C. § 1981 (sometimes “1981")(prohibiting, as set forth above, illegal
13               harassment, discrimination, and/or retaliation);
14            e. United States False Claims Act (31 U.S. Code § 3729 et. Seq.) (prohibiting
15               harassment, discrimination, and retaliation for investigating and/or trying to
16               stop false governmental claims and/or otherwise in furtherance of an actual
17               or potential False Claims action);
18            f. The Fair Employment and Housing Act (California Government Code,
19
                 Section 12940 et. seq.)(requiring a timely, good faith, interactive process
20
                 and reasonable accommodation to disabled employees and/or applicants for
21
                 employment and prohibiting illegal harassment, discrimination, and
22
                 retaliation, based upon the protected categories set forth above;
23
              g. California Family Rights Act (“CFRA”- California Government Code,
24
                 Section 12945.2)(requiring allowance of up to a 12-week leave, guaranteed
25
                 return to the same or similar position upon completion of the leave, no
26
                 interference with the leave, and prohibiting harassment, discrimination,
27
                 and/or retaliation based upon requesting, taking, and/or being entitled to
28
                 such a leave);


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1                   h. California False Claims Act (California Government Code, Section 12650 et.
2                       Seq.)    (prohibiting    harassment,      discrimination,   and   retaliation   for
3                       investigating and/or trying to stop false governmental claims and/or
4                       otherwise in furtherance of an actual or potential False Claims action);
5                   i. California Labor Code, Section 6310 and 6400 (prohibiting harassment,
6                       discrimination, and retaliation against those who oppose unsafe and
7                       unhealthy work environments); and
8                   j. Other similar laws.
9           129.    Plaintiff’s standing up for his rights under the above laws and his opposition to
10   the illegal policies and practices (or those policies and practices in which he in good faith
11   believed to be illegal) under the above referenced laws was a contributing factor in Defendant
12   PERNIX GROUPS’s and DOES 1-100’s decision to refuse to provide a timely, good faith
13   interactive process, to refuse to provide a reasonable accommodation, and to harass,
14   discriminate against, retaliate against, wrongfully discharge (de facto), refuse to hire/rehire
15   Plaintiff, and the other illegal conduct set forth herein.
16          130.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
17   policies, practices, acts and omissions (set forth throughout this Complaint and including, but
18   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
19   suffered, and continues to suffer, general and special damages for which he seeks the following
20   damages and remedies as set forth more fully in Paragraph 26 above:
21              a. Damages sufficient to compensate Plaintiff for his injuries;
22              b. Past loss of earnings, benefits, and interest;
23              c. Future loss of earnings, benefits, and interest;
24              d. Pre-judgment and post-judgment interest;
25              e. Costs of this action;
26              f. Injunctive relief;
27              g. All damages and remedies allowed under this cause of action;
28              h. Punitive damages and treble punitive damages;


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1                i. Emotional Distress Damages; and
2                j. Any and all other damages and relief that this Honorable Court may deem just
3                     and equitable.
4
                                      SIXTEENTH COUNT
5                                  FRAUD (FALSE PROMISE)
                    [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100)
6
             131.     Plaintiff ATEF repeats and realleges each and every allegation contained in
7
     preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
8
     set forth herein.
9
             132.     Plaintiff is informed and believes, and thereon alleges, that Defendant PERNIX
10
     GROUP, INC, NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY
11
     (President of PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON
12
     (Director of Human Resources of PERNIX GROUP) and DOES 1-100, and each of them,
13
     made the following written and/or oral promises to plaintiff:
14
                 a. On multiple times in December 2016 Defendant PERNIX GROUP promised
15
                      that once Plaintiff was done with his leave (which was on or about January 5,
16
                      2017) he would be returned back to his same position or a similar one;
17
                 b. On multiple times throughout 2017 Defendant PERNIX GROUP (through
18
                      CANDACE WATSON, NIDAL ZAYED, and ED McSWEENEY) promised
19
                      that Defendant PERNIX GROUP would try to find ATEF a position at
20
                      Defendant PERNIX GROUP to return to WORK;
21
                 c.   On multiple times throughout 2017 Defendant PERNIX GROUP (through
22
                      CANDACE WATSON and NIDAL ZAYED) promised that Defendant PERNIX
23
                      GROUP would inform ATEF of all open positions at PERNIX GROUP for
24
                      which he may be qualified whenever and wherever in the world they may come
25
                      up;
26
                 d. On multiple times throughout 2017 Defendant PERNIX GROUP (through
27
                      CANDACE WATSON and NIDAL ZAYED) promised that ATEF would
28




                                             COMPLAINT - 83
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1                  continue to be employed at PERNIX GROUP while they continued to look for a
2                  position for ATEF.
3           133.   The promises of Defendants PERNIX GROUP, INC., NIDAL ZAYED
4    (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
5    a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
6    PERNIX GROUP) and DOES 1-100, and each of them, were important to the transaction
7    between defendant PERNIX GROUP, INC. and plaintiff.
8           134.   Plaintiff is informed and believes, and thereon alleges, that even if one or more
9    of the important promises by defendants PERNIX GROUP, INC., NIDAL ZAYED
10   (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
11   a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
12   PERNIX GROUP), and DOES 1-100, and each of them, may potentially be considered to be
13   an expression of an opinion, even these promises are actionable because: (1) Defendants
14   PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of PERNIX GROUP), ED
15   McSWEENEY (President of PERNIX FEDERAL, a division of PERNIX GROUP),
16   CANDACE WATSON (Director of Human Resources of PERNIX GROUP), and DOES 1-
17   100, and each of them, claimed to have special knowledge of the subject matter of these
18   promises that plaintiff ATEF did not have; (2) Defendants PERNIX GROUP, INC., NIDAL
19
     ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX
20
     FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of Human
21
     Resources of PERNIX GROUP), and DOES 1-100, and each of them, made these promises, not
22
     as casual expressions of belief, but in a way that declared these matters to be true; (3)
23
     Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of PERNIX GROUP),
24
     ED McSWEENEY (President of PERNIX FEDERAL, a division of PERNIX GROUP),
25
     CANDACE WATSON (Director of Human Resources of PERNIX GROUP) and DOES 1-100,
26
     and each of them, had a relationship of trust and confidence with plaintiff; (4) Among other
27
     duties, Defendants PERNIX GROUP, INC. and DOES 1-100, and each of them, had a duty to
28
     return Plaintiff to the same position after his FMLA/CFRA leave, provide a timely, good faith,


                                          COMPLAINT - 84
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1    interactive process, provide a reasonable and continuing accommodation, a duty not to harass,
2    discriminate against and/or retaliate against Plaintiff because of his disability, requesting and/or
3    taking a FMLA/CFRA leave, and other protected actions/categories, and a common law duty not
4    to defraud Plaintiff ATEF; (5)        Defendants PERNIX GROUP, INC., NIDAL ZAYED
5    (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a
6    division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
7    PERNIX GROUP) and DOES 1-100, and each of them, had other special reasons to expect that
8    plaintiff would rely on these promises whether considered statements of fact or opinion.
9           135.    The promises of Defendants PERNIX GROUP, INC., NIDAL ZAYED
10   (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
11   a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
12   PERNIX GROUP), and DOES 1-100, and each of them, were important in that they influenced
13   plaintiff’s judgment and conduct and would influence a reasonable person in such a way. In
14   addition, at the time Defendants made the representations they knew that plaintiff ATEF was
15   likely to be influenced by the representations even if a reasonable person would not be
16   influenced.
17          136.    In addition to Defendants PERNIX GROUP, INC., NIDAL ZAYED
18   (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
19
     a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
20
     PERNIX GROUP), and DOES 1-100, and each of them, making the important promises
21
     directly to plaintiff both orally and in writing, Defendants also made some of the promises to
22
     other defendants and other persons intending or reasonably expecting that these promises
23
     would be repeated to plaintiff ATEF.
24
            137.    Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of
25
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
26
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
27
     GROUP), and DOES 1-100, and each of them, did not intend to keep these promises at the
28
     time they made them as shown by the facts set forth above summarized here:


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1               a. When Plaintiff ATEF returned from his leave on January 5, 2017, Defendant
2                  PERNIX GROUP, INC. did not give back ATEF his job or a similar job;
3               b. Although Plaintiff learned later that Defendant PERNIX GROUP had tens of
4                  open positions (including many ATEF was qualified for and would have
5                  accepted) from January 5, 2017 to the present, Defendant PERNIX GROUP
6                  never offered Plaintiff ATEF a position;
7               c. Although Plaintiff learned later that Defendant PERNIX GROUP, INC. had tens
8                  of open positions (including many ATEF was qualified for and would have
9                  accepted and were instead given to less qualified non-disabled, non-Muslim,
10                 non-Middle-Easterners) from January 5, 2017, Defendant PERNIX GROUP,
11                 INC. (who had promised ATEF and had an independent duty to tell him about
12                 those jobs) did not tell him about all but one or two positions that were open
13                 and, in any event, did not offer him those positions either;
14              d. Although Defendant PERNIX GROUP, INC. promised to find ATEF a position
15                 and promised to keep him employed, it did not find him a position and slowly,
16                 but surely, took away benefits of employment until it finally asked for an exit
17                 interview document signed at the end of October 2017.
18          138.   Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of
19
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
20
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
21
     GROUP), and DOES 1-100, and each of them, intended that plaintiff rely on these promises.
22
            139.   Plaintiff’s reliance on the promises of defendants PERNIX GROUP, INC.,
23
     NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of
24
     PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of
25
     Human Resources of PERNIX GROUP), and DOES 1-100, and each of them, was reasonable
26
     in light of his relative experience and knowledge regarding the subject matter of the promises.
27
            140.   Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of
28
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of


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1    PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
2    GROUP), and DOES 1-100, and each of them, did not perform the promised acts.
3           141.    Plaintiff’s reliance on the promises of defendants PERNIX GROUP, INC.
4    NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of
5    PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of
6    Human Resources of PERNIX GROUP) and DOES 1-100, and each of them, was a substantial
7    factor in causing harm to plaintiff in that he was substantially influenced by the promises and
8    probably would pushed the issue as to each open position that was hidden from him, would not
9    have suffered the financial losses attributable to Defendant PERNIX GROUP’s lies, would
10   have pursued many other prospective employers sooner, and would have pursued this action
11   against Defendant PERNIX GROUP, INC. sooner.
12          142.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
13   policies, practices, acts and omissions (set forth throughout this Complaint and including, but
14   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
15   suffered, and continues to suffer, general and special damages for which he seeks the following
16   damages and remedies as set forth more fully in Paragraph 26 above:
17              a. Damages sufficient to compensate Plaintiff for his injuries;
18              b. Past loss of earnings, benefits, and interest;
19              c. Future loss of earnings, benefits, and interest;
20              d. Pre-judgment and post-judgment interest;
21              e. Costs of this action;
22              f. Injunctive relief;
23              g. All damages and remedies allowed under this cause of action;
24              h. Punitive damages and treble punitive damages;
25              i. Emotional Distress Damages; and
26              j. Any and all other damages and relief that this Honorable Court may deem just
27                  and equitable.
28




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                                    SEVENTEENTH COUNT
1
                          FRAUD (INTENTIONAL MISREPRESENTATION)
2                  [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100)

3
            143.     Plaintiff ATEF repeats and realleges each and every allegation contained in
4
     preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
5
     set forth herein.
6
            144.     Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of
7
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
8
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
9
     GROUP), and DOES 1-100, and each of them, represented to plaintiff - both orally and in
10
     writing - that the following important facts were true:
11
                a. On multiple times in December 2016 Defendant PERNIX GROUP represented
12
                     that once Plaintiff was done with his leave (which was on or about January 5,
13
                     2017) he would be returned back to his same position or a similar one;
14
                b. On multiple times throughout 2017 Defendant PERNIX GROUP (through
15
                     CANDACE WATSON and NIDAL ZAYED) represented that Defendant
16
                     PERNIX GROUP was trying to find ATEF a position at Defendant PERNIX
17
                     GROUP to return to work;
18
                c.   On multiple times throughout 2017 Defendant PERNIX GROUP (through
19
                     CANDACE WATSON and NIDAL ZAYED) represented that Defendant
20
                     PERNIX GROUP would inform ATEF of all open positions at PERNIX
21
                     GROUP for which he may be qualified whenever and wherever in the world
22
                     they may come up;
23
                d. On multiple times throughout 2017 Defendant PERNIX GROUP represented
24
                     that there were no open positions;
25
                e. On multiple times throughout 2017, Defendant PERNIX GROUP (through
26
                     CANDACE WATSON and NIDAL ZAYED) represented that ATEF was
27

28




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1                   employed with and would continue to be employed at PERNIX GROUP while
2                   they continued to look for a position for ATEF.
3           145.    Plaintiffs are informed and believe and thereon allege that even if one or more
4    of the important factual representations by defendants PERNIX GROUP, INC. NIDAL
5    ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX
6    FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of Human
7    Resources of PERNIX GROUP), and DOES 1-100, and each of them, may potentially be
8    considered to be an expression of an opinion, even these representations are actionable
9    because: (1)    Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of
10   PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
11   PERNIX GRO UP), CANDACE WATSON (Director of Human Resources of PERNIX
12   GROUP), and DOES 1-100, and each of them, claimed to have special knowledge of the
13   subject matter of these promises that plaintiff did not have; (2) Defendants PERNIX GROUP,
14   INC., NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of
15   PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of
16   Human Resources of PERNIX GROUP), and DOES 1-100, and each of them, made these
17   promises, not as casual expressions of belief, but in a way that declared these matters to be
18   true; (3) Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of PERNIX
19   GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of PERNIX
20   GROUP), CANDACE WATSON (Director of Human Resources of PERNIX GROUP) and
21   DOES 1-100, and each of them, had a relationship of trust and confidence with plaintiff; (4)
22   Defendants PERNIX GROUP, INC. and DOES 1-100, and each of them, had a duty to provide
23   a timely, good faith, interactive process a duty to provide a reasonable accommodation, a duty
24   not to harass, discriminate against and/or retaliate against Plaintiff, and a common law duty not
25   to defraud Plaintiff; (5) Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President
26   of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
27   PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
28




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1    GROUP), and DOES 1-100, and each of them, had other special reasons to expect that plaintiff
2    would rely on these promises whether considered statements of fact or opinion.
3           146.    The factual representations of Defendants PERNIX GROUP, INC., NIDAL
4    ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX
5    FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of Human
6    Resources of PERNIX GROUP), and DOES 1-100, and each of them, were important in that
7    they influenced plaintiff’s judgment and conduct and would influence a reasonable person in
8    such a way. In addition, at the time Defendants PERNIX GROUP, INC., NIDAL ZAYED
9    (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
10   a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
11   PERNIX GROUP), and DOES 1-100, and each of them, made the representations they knew
12   that plaintiff was likely to be influenced by the representations even if a reasonable person
13   would not be influenced.
14          147.    In addition to Defendants PERNIX GROUP, INC.,                NIDAL ZAYED
15   (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
16   a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
17   PERNIX GROUP) and DOES 1-100, and each of them, making the important factual
18   representations directly to plaintiff both orally and in writing, Defendants PERNIX GROUP,
19   INC., NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of
20
     PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of
21
     Human Resources of PERNIX GROUP), and DOES 1-100, and each of them, also made some
22
     of the representations to other defendants and other persons intending or reasonably expecting
23
     that these representations would be repeated to Plaintiff.
24
            148.    The representations of Defendants PERNIX GROUP, INC., NIDAL ZAYED
25
     (CEO/President of PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL,
26
     a division of PERNIX GROUP), CANDACE WATSON (Director of Human Resources of
27
     PERNIX GROUP), and DOES 1-100, and each of them, were false for many reasons,
28
     including, but not limited to the following:


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1              a. When Plaintiff ATEF returned from his leave on January 5, 2017, Defendant
2                  PERNIX GROUP, INC. did not give back ATEF his job or a similar job;
3              b. Although Plaintiff learned later that Defendant PERNIX GROUP had many
4                  open positions (including many ATEF was qualified for and would have
5                  accepted) from January 5, 2017 to the present, Defendant PERNIX GROUP
6                  never offered Plaintiff ATEF a position;
7              c. Although Plaintiff learned later that Defendant PERNIX GROUP, INC. had
8                  many open positions (including many ATEF was qualified for and would have
9                  accepted and were instead given to less qualified non-disabled, non-Muslim,
10                 non-Middle-Easterners) from January 5, 2017, Defendant PERNIX GROUP,
11                 INC. (who had promised ATEF and had an independent duty to tell him about
12                 those jobs) did not tell him about all but one or two positions that were open
13                 and, in any event, did not offer him those positions either;
14             d. Although Defendant PERNIX GROUP, INC. promised to find ATEF a position
15                 and promised to keep him employed, it did not find him a position and slowly,
16                 but surely, took away benefits of employment until it finally asked for an exit
17                 interview document signed at the end of October 2017.
18             e. Although Defendant PERNIX GROUP, INC. represented that there were no
19
                   open positions, Plaintiff later found out that there were many open positions of
20
                   which Plaintiff was not informed.
21
            149.   Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of
22
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
23
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
24
     GROUP), and DOES 1-100, and each of them, knew that the representations were false when
25
     made and/or defendants made the representations recklessly and without regard for the truth.
26
            150.   Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of
27
     PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
28
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX


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1    GROUP), and DOES 1-100, and each of them, intended that plaintiff rely on the
2    representations.
3           151.    Plaintiff’s reliance on the representations of Defendants PERNIX GROUP,
4    INC., NIDAL ZAYED (CEO/President of PERNIX GROUP), ED McSWEENEY (President of
5    PERNIX FEDERAL, a division of PERNIX GROUP), CANDACE WATSON (Director of
6    Human Resources of PERNIX GROUP), and DOES 1-100, and each of them, was reasonable
7    in light of his relative experience and knowledge regarding the subject matter of the
8    representations.
9           152.    Plaintiff’s reasonable reliance was a substantial factor in causing harm to
10   plaintiff in that he was substantially influenced by the misrepresentations and would not have
11   paid the money for the corporate investment without such misrepresentations.
12          153.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
13   policies, practices, acts and omissions (set forth throughout this Complaint and including, but
14   not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has
15   suffered, and continues to suffer, general and special damages for which he seeks the following
16   damages and remedies as set forth more fully in Paragraph 26 above:
17              a. Damages sufficient to compensate Plaintiff for his injuries;
18              b. Past loss of earnings, benefits, and interest;
19              c. Future loss of earnings, benefits, and interest;
20              d. Pre-judgment and post-judgment interest;
21              e. Costs of this action;
22              f. Injunctive relief;
23              g. All damages and remedies allowed under this cause of action;
24              h. Punitive damages and treble punitive damages;
25              i. Emotional Distress Damages; and
26              j. Any and all other damages and relief that this Honorable Court may deem just
27                  and equitable.
28




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                                    EIGHTEENTH COUNT
1
                                   FRAUD (CONCEALMENT)
2                  [against DEFENDANTS PERNIX GROUP, INC. and DOES 1-100)

3           154.     Plaintiff ATEF repeats and realleges each and every allegation contained in

4    preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully

5    set forth herein.

6           155.     Defendants PERNIX GROUP, INC. NIDAL ZAYED (CEO/President of

7    PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of

8    PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX

9    GROUP), and DOES 1-100, and each of them, owed various duties to ATEF as an employee

10   (and/or prospective employee) concerning his employment, including, but not limited to, a duty

11   to return Plaintiff to the same position after his FMLA/CFRA leave, provide a timely, good

12   faith, interactive process, provide a reasonable and continuing accommodation, and a duty not

13   to harass, discriminate against and/or retaliate against Plaintiff because of his disability,

14   requesting and/or taking a FMLA/CFRA leave, and other protected actions/categories.

15          156.     Plaintiff is informed and believes, and thereon alleges, that Defendants

16   PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of PERNIX GROUP), ED

17   McSWEENEY (President of PERNIX FEDERAL, a division of PERNIX GROUP),
18   CANDACE WATSON (Director of Human Resources of PERNIX GROUP), and DOES 1-
19   100, and each of them: (1) Intentionally failed to disclose the following important facts; and/or
20   (2) Disclosed some facts, but failed to disclose the following important facts making the
21   disclosure deceptive; and/or (3) Actively concealed and/or prevented plaintiff from discovering
22   important facts.
23          157.     Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of
24   PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
25   PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
26   GROUP), and DOES 1-100, and each of them, concealed and/or failed to disclose numerous
27   facts, including, but not limited, the following:
28




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1               a. In spite of promising in December 2016 to return Plaintiff ATEF to his position
2                   or similar position upon his return from FMLA/CFRA, Defendant PERNIX
3                   GROUP, INC. concealed and actively lied about the fact that it had no intention
4                   of doing such upon the end of his FMLA/CFRA leave;
5               b. In spite of promising upon his attempt to return to work on and after January 5,
6                   2017 that it was trying to find him a position, Defendant PERNIX GROUP,
7                   INC. concealed and actively lied about the fact that it had no intention of doing
8                   such and was not actually doing such;
9               c. Defendant PERNIX GROUP, INC. concealed and actively lied about the fact
10                  that there were tens of open positions from January 5, 2018 to the present that
11                  Plaintiff ATEF was qualified for;
12              d. Defendant PERNIX GROUP, INC. concealed and actively lied about their intent
13                  to keep ATEF employed while it acted like it was trying to find ATEF a position
14                  (which it was not);
15          158.    Plaintiff did not know the concealed facts at the time they were withheld from
16   him.
17          159.    Defendants PERNIX GROUP, INC., NIDAL ZAYED (CEO/President of
18   PERNIX GROUP), ED McSWEENEY (President of PERNIX FEDERAL, a division of
19
     PERNIX GROUP), CANDACE WATSON (Director of Human Resources of PERNIX
20
     GROUP), and DOES 1-100, and each of them, intended to deceive plaintiff by concealing
21
     these facts.
22
            160.    Plaintiff reasonable relied on the deception of defendants PERNIX GROUP,
23
     INC. and DOES 1-100, and each of them.
24
            161.    The concealment by Defendants PERNIX GROUP, INC. and DOES 1-100, and
25
     each of them, was a substantial factor in causing plaintiff’s harm.
26
            162.    As a result of the malicious, oppressive, fraudulent, despicable, and illegal
27
     policies, practices, acts and omissions (set forth throughout this Complaint and including, but
28
     not limited to, this Count) by the Defendants listed in this Count, and each of them, Plaintiff has


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1    suffered, and continues to suffer, general and special damages for which he seeks the following
2    damages and remedies as set forth more fully in Paragraph 26 above:
3                a. Damages sufficient to compensate Plaintiff for his injuries;
4                b. Past loss of earnings, benefits, and interest;
5                c. Future loss of earnings, benefits, and interest;
6                d. Pre-judgment and post-judgment interest;
7                e. Costs of this action;
8                f. Injunctive relief;
9                g. All damages and remedies allowed under this cause of action;
10               h. Punitive damages and treble punitive damages;

11               i. Emotional Distress Damages; and

12               j. Any and all other damages and relief that this Honorable Court may deem just

13                   and equitable.

14                                NINETEENTH COUNT
15              ILLEGAL, UNFAIR, AND FRAUDULENT BUSINESS PRACTICES
                   [against DEFENDANTS PERNIX GROUP, and DOES 1-100]
16

17           163.    Plaintiff ATEF repeats and realleges each and every allegation contained in

18   preceding paragraphs, inclusive, and incorporates the same herein by reference as though fully
19   set forth herein.
20           164.    California Business and Professions Code, Section 17200 precludes a person or
21   entity from engaging in unfair competition, defined broadly as business practices which are
22   unlawful, unfair or fraudulent. The language of California Business and Professions Code
23   Section 17200 is to be broadly construed in order to determine whether conduct constitutes an
24   unfair, unlawful or fraudulent business practice.
25           165.    In addition to suing on behalf of himself, Plaintiff has standing to sue in the
26   name of the People of the State of California under Business and Professions Code, Section
27   17204 since she has suffered an “injury in fact” and “lost money or property as a result of the
28   unfair competition.” In addition, under California Code of Civil Procedure, Section 382 the


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1    “question is one of a common or general interest, of many persons” and/or the “parties are
2    numerous, and it is impracticable to bring them all before the court.”
3           166.    California Business and Professions Code, Section 17203 empowers the Court
4    in an action based on allegations of unfair business practices to issue injunctive, restitutionary
5    or other equitable relief.
6           167.    California Business and Professions Code, Section 17204 permits individuals,
7    such as plaintiff, to institute an action on behalf of the general public to obtain the injunctive
8    and restitutionary relief against the persons and/or entities which engage in unfair business
9    practices.
10          168.    Defendants PERNIX GROUP, and DOES 1-100, and each of them, are believed
11   to have been engaged in, and continue to engage in, the following unfair, unlawful and
12   fraudulent business policies, practices, and conduct:
13                  a. As set forth more specifically above, knowingly and wrongfully making
14                      misrepresentations in its written employment policies (including the
15                      Employee Handbook, Supplemental Handbook, and other documents)
16                      regarding the purported inapplicability of the FMLA to its employees and
17                      the rights of its employees and the commensurate duties under the state and
18                      federal laws referenced above and below;
19                  b. As set forth more specifically above, knowingly and wrongfully violating, as
20                      a business practice and/or employment practice, the Family Medical Leave
21                      Act (sometimes “FMLA”), 29 USC § 2601 et seq.; and the California Family
22                      Rights Act (“CFRA”- Government Code, Section 12945.2)(requiring notice
23                      of certain rights to be posted and included in correspondence, allowance of
24                      up to a 12-week leave, guaranteed return to the same or similar position
25                      upon completion of the leave, no interference with the leave, and prohibiting
26                      harassment, discrimination, and/or retaliation based upon requesting, taking,
27                      and/or being entitled to such a leave);
28




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1             c. As set forth more specifically above, knowingly and wrongfully failing, as a
2                business practice and/or employment practice, to enter into a timely, good
3                faith interactive processes with Plaintiff (and others) at a time when
4                Defendants knew that Plaintiff (and others) were disabled or were perceived
5                by them to be “disabled” in violation of the Fair Employment and Housing
6                Act (Government Code, Section 12940 et seq), Title I of the Americans with
7                Disabilities Act (sometimes "ADA"), 42 U.S.C. §§ 12101 et seq.; and the
8                ADA and the Rehabilitation Act of 1973 (29 U.S.C. § 701 et seq.);
9             d. As set forth more specifically above, knowingly and wrongfully failing, as
10               a business practice and/or employment practice, to provide a reasonable
11               accommodations to Plaintiff (and others) at a time when Defendants knew
12               that Plaintiff (and others) were disabled or were perceived by them to be
13               “disabled” in violation of the Fair Employment and Housing Act
14               (Government Code, Section 12940 et seq) , Title I of the Americans with
15               Disabilities Act (sometimes "ADA"), 42 U.S.C. §§ 12101 et seq.; and the
16               ADA and the Rehabilitation Act of 1973 (29 U.S.C. § 701 et seq.);
17            e. As set forth more specifically above, knowingly and wrongfully harassing,
18               discriminating against, retaliating against, failing to prevent, and aiding,
19               abetting, inciting, coercing, compelling such, as a business practice and/or
20               employment practice, Plaintiff and others based upon disability (actual
21               and/or perceived), and/or association with such in violation of the Fair
22               Employment and Housing Act (Government Code, Section 12940 et seq),
23               Title I of the Americans with Disabilities Act (sometimes "ADA"), 42
24               U.S.C. §§ 12101 et seq.; and the Rehabilitation Act of 1973 (29 U.S.C. §
25               701 et seq.);
26            f. As set forth more specifically above, knowingly and wrongfully harassing,
27               discriminating against, retaliating against, failing to prevent, and aiding,
28               abetting, inciting, coercing, compelling such, as a business practice and/or


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1                employment practice, Plaintiff and others based upon religion, race, color,
2                national origin, ancestry, and/or association with such in violation of the Fair
3                Employment and Housing Act (Government Code, Section 12940 et seq),
4                Title VII of the Civil Rights Act of 1964 (sometimes " Title VII"), 42 U.S.C.
5                § 2000e et seq., and 42 U.S.C. § 1981 (sometimes “1981 action");
6             g. As set forth more specifically above, knowingly and wrongfully harassing,
7                discriminating against, retaliating against, failing to prevent, and aiding,
8                abetting, inciting, coercing, compelling such, as a business practice and/or
9                employment practice, Plaintiff and others based upon opposition to, refusal
10               to participate in, complaints about, investigation into, and attempts to stop
11               illegal violations of the Fair Employment and Housing Act (Government
12               Code, Section 12940 et seq), Title I of the Americans with Disabilities Act
13               (sometimes "ADA"), 42 U.S.C. §§ 12101 et seq.; and the Rehabilitation Act
14               of 1973 (29 U.S.C. § 701 et seq.); Title VII of the Civil Rights Act of 1964
15               (sometimes " Title VII"), 42 U.S.C. § 2000e et seq., and 42 U.S.C. § 1981
16               (sometimes “1981 action")
17            h. As set forth more fully above, knowingly and wrongfully harassing, failing
18               to prevent, and aiding, abetting, inciting, coercing, compelling such, as a
19               business practice and/or employment practice, Plaintiff and others based
20               upon opposition to, refusal to participate in, complaints about,
21               investigation into, and attempts to stop unsafe and unhealthy policies,
22               practices and conduct in violation of California Labor Code, Sections 6310
23               and 6400;
24            i. As set forth more fully above, knowingly and wrongfully harassing, failing
25               to prevent, and aiding, abetting, inciting, coercing, compelling such, as a
26               business practice and/or employment practice, Plaintiff and others based
27               upon opposition to, refusal to participate in, complaints about,
28




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1                investigation into, and attempts to stop unsafe practices under California
2                Labor Code, Section 1102.5;
3             j. As set forth more fully above, knowingly and wrongfully, as a business
4                practice and/or employment practice, failing to follow FEHA, ADA, the
5                Rehabilitation Act, Title VII, Section 1981, FMLA, and CFRA, and any
6                rules and regulations that implement it;
7             k. As set forth more fully above, knowingly and wrongfully, as a business
8                practice and/or employment practice, failing to submit and follow a legally
9                proper non-discrimination program as required by state and federal law;
10            l. As set forth more fully above, knowingly and wrongfully, as a business
11               practice and/or employment practice, failing to submit periodic reports of
12               its compliance with that program as required by state and federal law and,
13               if Defendants did such, the reports were and are untrue in light of the
14               written policies and practices and the numerous violations set forth above.
15            m. As set forth more fully above, knowingly and wrongfully, as a business
16               practice and/or employment practice, failing to follow the non-
17               discrimination clause in governmental contracts under state and federal law
18               and the requirement that they give written notice of their obligations under
19
                 that clause to labor organizations with which they have a collective
20
                 bargaining or other agreement.
21
              n. As set forth more fully above, knowingly and wrongfully, as a business
22
                 practice and/or employment practice, failing to have and honestly follow a
23
                 nondiscrimination program required in governmental contracts and under
24
                 state and federal law, including a set of specific and result-oriented
25
                 procedures to which a contractor or subcontractor commits itself for the
26
                 purpose of insuring equal employment opportunity for all employees or
27
                 applicants for employment.
28




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1           169.    Plaintiff is informed and believes and thereon alleges that as to these unlawful,
2    unfair and fraudulent business practices, the remedies at law are inadequate.          Plaintiff is
3    informed and believe and thereon alleges that the above unlawful, unfair and fraudulent
4    business practices are of a continuing nature and are practices engaged in by Defendants
5    PERNIX GROUP, and DOES 1-100, and each of them.
6           170.    On behalf of the general public, plaintiff respectfully requests that an injunction
7    against Defendants PERNIX GROUP, and DOES 1-100, and each of them, be issued to enjoin
8    them from continuing to engage in each and every of the unfair, unlawful and fraudulent
9    conduct alleged above.
10          171.    Plaintiff further alleges that Defendants PERNIX GROUP, and DOES 1-100,
11   and each of them, have been unjustly enriched through their use of the unfair, illegal and
12   fraudulent business practices, in an amount to be determined at trial.
13          172.    On behalf of the general public, Plaintiff respectfully requests that the court
14   order any other further equitable relief deemed necessary by the court, including, without
15   limitation, an order or judgment restoring to every person any interest in money or property
16   which may have been acquired by defendants through the unfair practices alleged, and/or for
17   restitution or relief requiring defendants to disgorge the profits illegally and unfairly earned by
18   defendants as a result of such unfair business practices.
19
            173.    Additionally, pursuant to California Code of Civil Procedure, Section 1021.5,
20
     plaintiffs seek an award of attorneys’ fees upon prevailing on this cause of action.
21
                                         PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiff prays for judgment against Defendants PERNIX GROUP,
23
     INC. and DOES 1-100, and each of them, as follows:
24

25
            1.      Compensatory and special damages as set forth throughout the complaint
26
                    according to proof with prejudgment interest thereon to the extent allowable by
27
                    law;
28




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1        2.    Damages for pain and suffering, severe emotional distress, physical
2              manifestations of the pain and emotional distress and other general and special
3              damages detailed above that ATEF suffered as a result of Defendants’ illegal
4              misconduct;
5        3.    Damages (including double where appropriate) for past loss of earnings,
6              bonuses and benefits, in spite of continuing attempts at mitigating damages,
7              with such damages increasing each day, plus interest in an amount to be
8              determined by the jury at the trial of this matter;
9        4.    Damages for future loss of earnings, bonuses and benefits, in spite of continuing
10             attempts at mitigating damages, in an amount to be determined by the jury at the
11             trial of this matter;
12       5.    Damages for consequential financial losses, medical bills and other costs
13             associated with the emotional injuries and physical manifestations of such
14             caused by Defendants illegal misconduct, and additional financial loss and
15             emotional distress damages, increasing with each day, as described above in an
16             amount to be determined by the jury at the trial of this matter;
17       6.    Damages pursuant to Government Code, Section 12965(b) and California Code
18             of Civil Procedure, Section 1021.5, for litigation costs, expert costs and
19
               attorney’s fees incurred in pursuing recovery for defendants’ multiple violations
20
               of FEHA, CFRA, California False Claims Act, FMLA, ADA, TITLE VII,
21
               Section 1981, United States False Claims Act and other laws providing for such
22
               recovery.
23
         7.    Damages constituting “all relief necessary” as set forth herein to make him
24
               “whole,” including, but not limited reinstatement with the same seniority status
25
               plaintiff had but for Defendant PERNIX GROUP’s illegal misconduct against
26
               plaintiff, two times the amount of back pay, interest on the back pay,
27
               compensation for the other special damages described herein, attorney’s fees
28




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1              and costs, and punitive damages, including treble punitive damages, which are
2              appropriate.
3        8.    Damages, pursuant to Government Code, Section 12653(b) and California Code
4              of Civil Procedure, Section 1021.5, for the costs of hiring an attorney to pursue
5              recovery for defendants’ multiple violations of law as set forth in this complaint
6              and for the litigation costs attendant in prosecuting this lawsuit regarding the
7              failure to provide a timely, good faith, interactive process, failure to provide a
8              reasonable accommodation, and the harassment, discrimination, and retaliation;
9        9.    Restitution;
10       10.   Disgorgement of Profits;
11       11.   “All relief necessary” as set forth herein to make Plaintiff “whole,” including,
12             but not limited reinstatement with the same seniority status plaintiff had but for
13             Defendants’ illegal misconduct against plaintiff, two times the amount of back
14             pay, interest on the back pay, compensation for the other special damages
15             described herein, attorney’s fees and costs, and punitive damages, including
16             treble punitive damages, which are appropriate;
17       12.   Equitable estoppel;
18       13.   Exemplary and punitive damages according to proof;
19
         14.   Treble exemplary and punitive damages according to proof;
20
         15.   Prejudgment interest as allowed by law;
21
         16.   A temporary, preliminary and permanent injunction enjoining Defendants’
22
               unfair, illegal and fraudulent practices as described above in violation of the
23
               laws and the public policies set forth herein;
24
         17.   For costs of suit; and
25
         18.   For such other and further relief as the court may deem proper.
26

27

28




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                     17 2018
     Dated: October ____,                              PEDERSEN LAW
1
                                                       A PROFESSIONAL CORPORATION
2
                                                       JOHN C. McCARTY, APLC
3
                                                       Law Offices of Albert F. Ferolie, P.C.
4

5
                                                    By:______________________
6                                                      Neil Pedersen
                                                       John C. McCarty
7                                                      Kimberly H. Whang
                                                       Albert F. Ferolie
8

9                                                      Attorneys for Plaintiff ATEF ELZEFTAWY

10
                                       DEMAND FOR JURY TRIAL
11
            Plaintiff, ATEF A. ELZEFTAWY hereby respectfully demands a trial by jury for all so
12
     triable issues in the above–titled action.
13

14
                     17 2018
     Dated: October ____,                              PEDERSEN LAW
15                                                     A PROFESSIONAL CORPORATION

16                                                     JOHN C. McCARTY, APLC
17                                                     Law Offices of Albert F. Ferolie, P.C.
18

19                                                  By:______________________
                                                       Neil Pedersen
20                                                     John C. McCarty
                                                       Kimberly H. Whang
21
                                                       Albert F. Ferolie
22
                                                       Attorneys for Plaintiff ATEF ELZEFTAWY
23

24

25

26

27

28




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